Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 1 of 115 PageID #: 34




                               EXHIBIT B
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 2 of 115 PageID #: 35




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 KONNECH, INC.,                                   §
                                                  §
                PLAINTIFF,                        §
                                                  §
 v.                                               §    CIVIL ACTION NO. 4:22-CV-03096
                                                  §
 TRUE THE VOTE, INC., GREGG                       §
 PHILLIPS, and CATHERINE                          §
 ENGELBRECHT,                                     §
                                                  §
                DEFENDANTS.                       §
                                                  §


                          PLAINTIFF KONNECH, INC’S
      FIRST SET OF INTERROGATORIES AND REQUESTS FOR PRODUCTION TO
                     DEFENDANT CATHERINE ENGELBRECHT

To:     Defendant Catherine Engelbrecht, by and through her attorneys of record, Michael J.
        Wynne, Gregor Wynne Arney, PLLC, 909 Fannin Street, Suite 3800, Houston, Texas
        77010.

        Pursuant to Rules 26, 33, and 34 of the Federal Rules of Civil Procedure, Plaintiff Konnech,

Inc. (“Plaintiff” or “Konnech”) hereby propounds these first set of Interrogatories and Requests

for Production (collectively, the “Requests”) on Defendant Catherine Engelbrecht (“Defendant”

or “Engelbrecht”). Plaintiff requests that Defendant respond in writing and produce the requested

documents within thirty (30) days in accordance with the Federal Rules of Civil Procedure and the

Definitions and Instructions provided in this Request.       Defendant should serve the written

responses and responsive documents and things in her possession, custody, or control upon the

undersigned counsel. Plaintiff also requests that Defendant continue to supplement her document

production and answers to these requests in accordance with the Federal Rules of Civil Procedure.
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 3 of 115 PageID #: 36




                                                   Respectfully submitted,

                                                   KASOWITZ BENSON TORRES LLP



                                                   By: /s/ Constantine Z. Pamphilis
                                                       Constantine Z. Pamphilis
                                                       Attorney in Charge
                                                       Texas State Bar No. 00794419
                                                       SDTX Bar No. 19378
                                                       DPamphilis@kasowitz.com
                                                       Nathan W. Richardson
                                                       Texas State Bar No. 24094914
                                                       SDTX Bar No. 24094914
                                                       NRichardson@kasowitz.com
                                                       1415 Louisiana Street, Suite 2100
                                                       Houston, Texas 77002
                                                       (713) 220-8800
                                                       (713) 222-0843 (fax)

                                                   Attorneys for Plaintiff Konnech, Inc.




                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing has been served on all counsel of
record pursuant to the Federal Rules of Civil Procedure and the agreement of counsel dated
February 24, 2023 regarding e-mail service, on this the 24th day of February, 2023.



                                                     /s/ Nathan W. Richardson
                                                     Nathan W. Richardson




                                               2
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 4 of 115 PageID #: 37




                                    I.      DEFINITIONS

  1. “You,” “Your,” or “Defendant” refer to Defendant Catherine Engelbrecht and all of her
     agents, employees, representatives and all persons and entities acting and purporting to act
     on her behalf.

  2. “Defendants” refers to True the Vote, Inc., Gregg Phillips, and Catherine Engelbrecht and
     all of their agents, employees, representatives and all persons and entities acting and
     purporting to act on their behalf.

  3. “Plaintiff” or “Konnech” refers to Konnech, Inc. and all of its agents, employees,
     representatives and all persons and entities acting or purporting to act on its behalf.

  4. “Lawsuit” means the above-captioned action.

  5. “Complaint” means the Plaintiff’s First Amended Complaint filed in the Lawsuit.

  6. “True the Vote” or “TTV” means True the Vote, Inc. and all of its agents, employees,
     representatives and all persons and entities acting or purporting to act on its behalf.

  7. “Gregg” or “Phillips” means Gregg Phillips.

  8. “Mike Hasson” means Mike Hasson, the person identified by Phillips at the October 27,
     2022 hearing as one of the people present at the Hotel Meeting (defined below).

  9. “OPSEC Group LLC” means OPSEC Group LLC, and all of its agents, employees,
     representatives and all persons and entities acting and purporting to act on its behalf.

  10. “RSBN” means Right Side Broadcasting Network, LLC and all of its agents, employees,
      representatives and all persons and entities acting and purporting to act on its behalf.

  11. “The Pit” means the August 13, 2022 event in Arizona called “The Pit.”

  12. “The Fake Pit” means the event scheduled for and/or held on July 15, 2022, and advertised
      as “The Pit.”

  13. “Konnech Computer” means any electronic, magnetic, optical, electrochemical, or other
      high speed data processing device performing logical, arithmetic, or storage functions, and
      includes any data storage facility or communications facility directly related to or operating
      in conjunction with such device, that is owned or otherwise controlled by Konnech.

  14. “Konnech Data” means any information that is owned, possessed, or controlled by
      Konnech, including but not limited to any electronic information stored on, transferred
      through, or otherwise accessible by a Konnech Computer.

  15. “Hotel Room Data” means the data and information that Defendants claim Gregg Phillips
      viewed during the Hotel Meeting (defined below), regardless of whether or not such data




                                                3
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 5 of 115 PageID #: 38




     or information is believed by Defendants to be owned, possessed, or controlled by
     Konnech.

  16. “Ripcord” shall have the meaning as used by Defendants at the October 27, 2022 hearing
      in this Lawsuit.

  17. “TRO” means the Temporary Restraining Order issued on September 12, 2022 in this
      Lawsuit.

  18. “Preliminary Injunction” means the Preliminary Injunction issued on November 3, 2022 in
      this Lawsuit.

  19. “Hotel Meeting” refers to the January 2021 meeting in Dallas, Texas between Gregg
     Phillips, Mike Hasson, and at least one other unidentified individual, during which Gregg
     Phillips has testified that Mike Hasson showed him data allegedly on a Chinese server that
     appeared to belong to Konnech.

  20. “Social Media” refers to Truth Social, Facebook, Twitter, Instagram, LinkedIn, TikTok,
     Pinterest, YouTube, Reddit, Snapchat, Rumble, Substack, Tumblr, and Locals any other
     online interactive technologies that facilitate the creation and sharing of ideas, thoughts,
     information and other forms of expression through virtual networks and communities.

  21. “FBI” means the Federal Bureau of Investigation.

  22. “NSA” means the National Security Agency.

  23. “Communication” or “Communications” means all exchanges of information, regardless
      of form, including, without limitation, all conversations, discussions, inquiries,
      correspondence, notes (handwritten or otherwise), message slips, logs, emails (or other
      similar electronic communications, text messages, instant messages, or other such
      transmittals of information, including but not limited to any encrypted messaging
      application such as Variety, Signal, Wickr, Ding Talk, Telegram or WhatsApp. The terms
      “Communication” and “Communications” includes internal and external communications.

  24. “Electronically Stored Information” is defined broadly to give the full scope of that term
      as contemplated under the Federal Rules of Civil Procedure, and refers to all computer or
      electronically stored or generated data and information, and shall include all attachments
      to and enclosures with any requested item, and all drafts thereof. Electronically Stored
      Information includes information stored in any format and on any storage media, including
      but not limited to: hard disks; floppy disks; optical disks; flash memory devices; and
      magnetic tape, whether fixed, portable, or removable. Electronically Stored Information
      also includes: word-processing documents; electronic spreadsheets; electronic presentation
      documents; e-mail messages; image files; sound files; and material or information stored
      in a database, or accessible from a database. Electronically Stored Information also
      includes all associated metadata that is maintained or saved, which includes: document
      title or name; file name; date and time of creation; date and time of last edit; identity of
      author; identity of owner; identities of editors; identities of recipients; changes; history of
      changes; e-mail header information; history of who viewed an e-mail and when; and e-mail


                                                4
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 6 of 115 PageID #: 39




     routing information. Electronically Stored Information further includes: correspondence;
     telegrams; memoranda; Communications; minutes or records of meetings and conferences;
     lists of persons attending meetings or conferences; summaries; records of conversations;
     drafts; notes; notebooks; logs; invention records and disclosures; translations; drawings;
     graphs; charts; photographs; sound recordings; images data compilations; computer
     records or printouts; specifications; reports; opinions; summaries; agreements; forecasts;
     plan drawings; mask works; engineering drawings; expressions or statements of policy;
     consultations; brochures; pamphlets; advertisements; publications; circulars; trade letters;
     press releases; and drafts of any of the foregoing.

  25. “Electronically Stored Information” is defined broadly to give the full scope of that term
      as contemplated under the Federal Rules of Civil Procedure, and refers to all computer or
      electronically stored or generated data and information, and shall include all attachments
      to and enclosures with any requested item, and all drafts thereof. Electronically Stored
      Information includes information stored in any format and on any storage media, including
      but not limited to: hard disks; floppy disks; optical disks; flash memory devices; and
      magnetic tape, whether fixed, portable, or removable. Electronically Stored Information
      also includes: word-processing documents; electronic spreadsheets; electronic presentation
      documents; e-mail messages; image files; sound files; and material or information stored
      in a database, or accessible from a database. Electronically Stored Information also
      includes all associated metadata that is maintained or saved, which includes: document
      title or name; file name; date and time of creation; date and time of last edit; identity of
      author; identity of owner; identities of editors; identities of recipients; changes; history of
      changes; e-mail header information; history of who viewed an e-mail and when; and e-mail
      routing information. Electronically Stored Information further includes: correspondence;
      telegrams; memoranda; Communications; minutes or records of meetings and conferences;
      lists of persons attending meetings or conferences; summaries; records of conversations;
      drafts; notes; notebooks; logs; invention records and disclosures; translations; drawings;
      graphs; charts; photographs; sound recordings; images data compilations; computer
      records or printouts; specifications; reports; opinions; summaries; agreements; forecasts;
      plan drawings; mask works; engineering drawings; expressions or statements of policy;
      consultations; brochures; pamphlets; advertisements; publications; circulars; trade letters;
      press releases; and drafts of any of the foregoing.

  26. The singular form of a word shall be construed to include the plural, and the plural form of
      a word shall include the singular, so as to bring within the scope of these requests for
      production any information that might otherwise be considered to be beyond their scope.

  27. “And” and “or” shall be construed either conjunctively or disjunctively as required by the
      context.

  28. “Any” and “all” shall be construed as “any and all,” and the term “each” shall be construed
      as “all and each.”

  29. The terms “relating to,” “concerning,” and “reflecting” (or any form thereof) shall mean
      constituting, comprising, respecting, supporting, contradicting, stating, describing,



                                                5
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 7 of 115 PageID #: 40




       recording, noting, embodying, containing, mentioning, studying, analyzing, discussing,
       evaluating, or relevant to.

   30. The term “including” shall mean “including without limitation” or “including but not
       limited to” the referenced items or information. The use of “including” in describing
       categories of documents should not be read to narrow any request.

   31. The terms “identify” or “identity,” unless otherwise defined in an interrogatory shall
       require you to provide:

           (a) With respect to a NATURAL PERSON, the full name, present title, present
               business and resident address (last known if present addresses are unknown), and
               business and residence telephone numbers, and the title of the last position held;

           (b) With respect to a CORPORATION, PARTNERSHIP, ASSOCIATION OR
               OTHER LEGAL ENTITY, its name, address, and legal form (e.g. corporation,
               partnership, etc.);

           (c) With respect to a DOCUMENT, its title, number, date, authors, signers, subject
               matter, addressee(s), addressor(s), or other designation, including, but not limited
               to, subject matter or general nature, person(s) receiving copies of such document,
               present location and custodian;

           (d) With respect to an ORAL STATEMENT OR COMMUNICATION, the maker, the
               recipients, when made, where made, persons present when made, mode of
               communication and subject matter;

           (e) With respect to an ACT, ACTION, OR ACTIVITY, its description, the identity of
               the person(s) participating in the act or activity, the date or approximate date on
               which the act or activity was committed, and the identities of any person(s)
               observing the act or participating in the activity;

           (f) With respect to a MEETING, the identities of the persons attending the meeting,
               the date of the meeting, the subject matter of the meeting, and the place of the
               meeting; and

           (g) With respect to a STATEMENT, the person(s) making the statement, any person(s)
               present at the time the statement was made, the approximate date of such statement,
               the subject matter of the statement, and, if possible, the exact words used.

                                   II.     INSTRUCTIONS

         In addition to the requirements set forth in the Federal Rules of Civil Procedure, which
 Plaintiff incorporates herein, the following instructions apply to each of the discovery requests
 set forth below, and are deemed to be incorporated in each individual Request:




                                                6
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 8 of 115 PageID #: 41




      1. The Documents covered by these Requests include all Documents in Your possession,
         custody or control.

      2. These discovery requests are continuing in nature and require supplementation or
         amendment to include information subsequently acquired or as required by the Federal
         Rules of Civil Procedure.

      3. If for any reason You are unable to respond to any request set forth herein, explain in detail
         Your inability to respond. If for any reason You are unable to respond to a part of any
         request but able to answer other parts of the request, respond to as much of the request as
         You can and explain in detail Your inability to respond to the remainder of the request.

      4. If You contend that any of the information requested herein is protected or privileged, so
         state and set forth the protection or privilege claimed, the facts upon which You rely to
         support the claim of protection or privilege, and the scope of said protection or privilege,
         but proceed to disclose or produce all requested information for which protection or
         privilege is not claimed. With respect to each requested Document that is being withheld,
         You are hereby requested to furnish a privilege log identifying the basis for the claim of
         privilege or protection and a description of the Document, including:

           (a)     the title of the Document and the nature and subject matter of its contents;

           (b)     the date the Document was prepared or any date appearing on the Document;

           (c)     the number of the Document’s pages, attachments and appendices; the names of
                   the persons who authored or prepared the Document, and an identification by
                   employment and title of each such person, and if the person is an attorney, a
                   statement so saying;

           (d)     the names of each person to whom the Document, or a copy thereof, was sent,
                   shown or made accessible, or to whom it was explained, together with an
                   identification of each such person and entity with which they are employed or
                   associated, and if the person is an attorney, a statement so saying;

           (e)     the number of each paragraph of these Document Requests to which the
                   Document relates;

           (f)     the portion(s) of the Document as to which privilege is claimed; and

           (g)     the type of privilege asserted.

 5.        Counsel for Plaintiff is willing to discuss with You or Your counsel any questions
           regarding perceived ambiguities in, or claims regarding the burdens involved in or
           compliance with the discovery requested herein in an effort to resolve any such issues
           without the necessity of Court intervention. If You cannot clarify any perceived
           ambiguities by reference to the Definitions, contact counsel for Plaintiff for
           clarification.



                                                     7
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 9 of 115 PageID #: 42




 6.    You shall produce all documents in the manner in which they are maintained in the
       usual course of Your business and/or You shall organize and label the documents to
       correspond with the categories in these Requests. A Request shall be deemed to include
       a request for any and all file folders within which the document was contained,
       transmittal sheets, cover letters, exhibits, enclosures, or attachments to the document in
       addition to the document itself.

 7.    Documents shall be produced in such fashion as to identify the file, folder, department,
       branch or office in which they were located and, where applicable, the natural person in
       whose possession it was found and the business address of each document’s
       custodian(s).

 8.    Documents attached to each other should not be separated. If any portion of any
       document is responsive to the document Requests, then the entire document must be
       produced.

 9.    Electronically Stored Information should be produced in the following format: As
       single-page TIFF images, at 300 dots-per-inch, with an iPRO LFP image load file and
       a Concordance delimited dataload file (*.DAT) with the following fields: BEGNO,
       ENDNO, BEGATTACH, ENDATTACH, PAGES, VOLUME, RECORDTYPE,
       SENTDATE, SENTONTIME, CREATEDATE, CREATETIME, LASTMODDATE,
       LASTMODTIME, RECEIVEDDATE, RECEIVEDTIME, PARENTFOLDER,
       AUTHOR, TO, CC, BCC, SUBJECT/TITLE (fields combined), ORIGSOURCE,
       CUSTODIAN, NATIVEPATH, ATTACHCOUNT, FILEEXT, FILENAME,
       FILETYPE, FILESIZE, APPLICATION, MD5HASH, and FULLTEXT. All
       spreadsheets responsive to these Requests that are maintained in the usual course of
       business in electronic format shall be produced in their native format (along with
       theTIFF images, linked using NATIVEPATH field).

 10.   Under no circumstances should Electronically Stored Information be converted from
       the form in which it is ordinarily maintained to a different form that makes it more
       difficult or burdensome to use. Electronically Stored Information should not be
       produced in a form that removes or significantly degrades the ability to search the
       Electronically Stored Information by electronic means where the Electronically Stored
       Information is ordinarily maintained in a way that makes it searchable by electronic
       means. Databases or underlying data should not be produced without first discussing
       production format issues with the Plaintiff’s counsel. If You decline to search or
       produce Electronically Stored Information on the ground that such Electronically
       Stored Information is not reasonably accessible because of undue burden or cost,
       identify such information by category or sources and provide detailed information
       concerning the burden or cost You claim is associated with the search or production
       of such Electronically Stored Information.

 11.   If You have reason to believe there are e-mails created that are responsive to these
       Requests that have not been retained, state the name and address of the e-mail provider
       (e.g., MSN, Yahoo!, Thunderbird, Gmail, Bloomberg, AOL, etc.) or program used by
       You and what efforts You have made to retrieve the requested information.


                                               8
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 10 of 115 PageID #: 43




 12.   In the event that any document responsive to any Request was, but is no longer, in Your
       possession, custody or control, or has been lost, destroyed, discarded or otherwise
       disposed of, You shall provide sufficient information to identify the document as
       completely as possible and state, in writing, the details and circumstances surrounding
       the disposal of the document.




                                              9
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 11 of 115 PageID #: 44




                 PLAINTIFF’S FIRST SET OF INTERROGATORIES



Identify each person (by name, address and telephone number) who was present at the Hotel
Meeting, and the following:

      (a)    All Communications You have had with that person since January 1, 2021, as well
             as any Communications you had with that person prior to January 1, 2021, but
             concerning or relating to Konnech, Konnech Data, Konnech Computers, and/or
             Hotel Room Data;

      (b)    The date of each Communication identified in response to subsection (a);

      (c)    The location of each such Communication identified in response to subsection (a);

      (d)    The means of each Communication identified in response to subsection (a);

      (e)    The purpose of each Communication identified in response to subsection (a); and

      (f)    The substance of each Communication identified in response to subsection (a),
             including whether You communicated about this Lawsuit.

RESPONSE:




In connection with any unauthorized access of Konnech’s Computer and/or Konnech’s Data of
which you are aware, identify and describe:

      (a)    Each person (by name, address and telephone number) and/or entity who You know
             was involved in accessing any Konnech Computer or Konnech Data without
             express authorization by Konnech;

      (b)    How any Konnech Computer and Konnech Data has been accessed by anyone
             without express authorization by Konnech;

      (c)    Where anyone You know was located when they connected to any Konnech
             Computer or accessed any Konnech Data without the express authorization by
             Konnech;

      (d)    The size and/or quantity of Konnech Data that anyone You know has downloaded
             without the express authorization by Konnech;

      (e)    The length of time it took anyone You know to download Konnech Data without
             the express authorization by Konnech;



                                            10
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 12 of 115 PageID #: 45




       (f)    All software and hardware anyone You know used to access Konnech’s Data
              without the express authorization by Konnech; and

       (g)    All database queries run on any Konnech Computer or Konnech Data without
              express authorization by Konnech.

RESPONSE:




Identify each person (by name, address and telephone number) and/or entity who has had
possession, custody or control of any Konnech Data.

RESPONSE:




Identify each person (by name, address and telephone number) affiliated with any law enforcement
agency, governmental entity, municipality, county or agency of any of them, with whom You have
discussed anything concerning or relating to Konnech, including the date of each communication
with each person identified, and a description of each such communication.

RESPONSE:




Identify each person (by name, address and telephone number) who has been an employee and/or
contractor for any of the following since January 1, 2021:

       (a)    True the Vote Inc.;

       (b)    OPSEC Group LLC;

       (c)    CoverMe; and

       (d)    Patriot Games (the podcast hosted by Phillips)

RESPONSE:




                                              11
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 13 of 115 PageID #: 46




Identify (by name, address and telephone number) each person who has posted from the following
social media accounts since January 1, 2021:

       (a)     @The_Authority (Truth Social username);

       (b)     @KanekoaTheGreat (Truth Social username);

       (c)     @opsec (Truth Social username);

       (d)     @tay_phill (Truth Social username);

       (e)     @RealPatriotGames (Truth Social username);

       (f)     @GreggPhillips (Truth Social username);

       (g)     @Truethevote (Truth Social username);

       (h)     @CognitiveCarbon (Truth Social username);

       (i)     @DineshDSouza (Truth Social username);

       (j)     @mgshow (Truth Social username);

       (k)     @intheMatrixxx (Truth Social username);

       (l)     @ShadyGrooove (Truth Social username);

       (m)     @blondepatriot1776 (Truth Social username); and

       (n)     @GusQuixote (Truth Social username).

RESPONSE:




Identify and describe how and when Konnech’s Computer and/or Konnech’s Data was accessed
without authorization, including but not limited to the specific IP address(es) allegedly accessed,
the contents of the data accessed, and the total amount of data (in megabytes, gigabytes and/or
terabytes) accessed.

RESPONSE:




                                                12
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 14 of 115 PageID #: 47




Identify and describe how and when the “computer”—described by Defendants in their Motion to
Dissolve Preliminary Injunction as a “computer” “not in the U.S.” (Doc. 64, last paragraph on p.
2)—was accessed, including but not limited to the specific IP address(es) allegedly accessed, the
contents of the data accessed, and the total amount of data (in megabytes, gigabytes and/or
terabytes) accessed.

RESPONSE:




Identify any and all Social Media accounts claimed by or registered to You or any entity of which
you are affiliated, including but not limited to any “burner” accounts. For each such account,
identify the platform and Your username.

RESPONSE:




Describe any investigation that was conducted, concerning the statements posted on Your Social
Media accounts concerning Konnech, Eugene Yu, Konnech Data, Hotel Room Data, Konnech
Computers, this Lawsuit, the Tiger Project, and/or Ripcord and the factual basis to support each
such statement. Include in Your answer a description, in detail, of the following:

       (a)    Identify each person (by name, title and employer) involved in the investigation;

       (b)    Identify the date(s) of each such investigation;

       (c)    Identify every person who You communicated with or interviewed in connection
              with the investigation; and

       (d)    Describe the results of the investigation.

RESPONSE:




Identify and describe all investigation that was conducted and the factual basis to support all
statements previously made by any of the Defendants concerning Konnech, Eugene Yu, Konnech
Data, Hotel Room Data, Konnech Computers, this Lawsuit, the Tiger Project, and/or Ripcord.
Please include in your answer, a description in detail concerning the following statements of the
investigation that was conducted, who conducted the investigation, when the investigation was


                                               13
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 15 of 115 PageID #: 48




conducted and the factual basis for each statement:

       (a)     That Konnech is a “Red Chinese communist op”;

       (b)     That Konnech and its employees are “Chinese operatives”;

       (c)     That Konnech’s software “apps were running form China, the database is running
               in China. It’s on the Chinese internet, meaning the Chinese own it,” as stated during
               the August 30 2022 podcast titled “Here’s How They’ll Try to Steal the Midterms”;

       (d)     That Konnech is affiliated with the Chinese Communist Party;

       (e)     That Konnech is affiliated with the Confucius Institute;

       (f)     That Konnech is involved in election fraud;

       (g)     That Konnech engaged in bribery in connection with a purported Detroit contract;

       (h)     That Konnech stores poll worker data on servers in China;

       (i)     That any of the Defendants accessed and/or have seen Konnech data related to
               Allegheny, PA;

       (j)     That Konnech stores any ballot data on servers in China;

       (k)     That Konnech was involved in Fast Track Ballot Counting; and

       (l)     That Konnech was involved in overseas military ballots.

RESPONSE:




In connection with The Pit and the planning of same, identify and describe the following:

       (a)     The date that it was first planned;

       (b)     Who organized The Pit;

       (c)     The purpose of The Pit;

       (d)     All speakers (name, address and telephone number) at The Pit;

       (e)     All persons invited to The Pit; and

       (f)     All attendees (name, address and telephone number) to The Pit.




                                                 14
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 16 of 115 PageID #: 49




RESPONSE:




Identify each and every donor who has contributed, donated, or otherwise made any payment of
money to You or any company of which you are affiliated concerning Konnech, Eugene Yu,
Konnech Data, Hotel Room Data, Konnech Computers, this Lawsuit, the Tiger Project, and/or
Ripcord and identify the date and amount of each such contribution, donation or payment of
money.

RESPONSE:




Identify any and all publications You made, including any “ReTruths,” concerning or relating to
Konnech, Eugene Yu, Konnech Data, Hotel Room Data, Konnech Computers, this Lawsuit, the
Tiger Project, and/or Ripcord. Include in Your answer a description, in detail, of the following:

       (a)    Where the publication was made;

       (b)    The date of the publication;

       (c)    The original author of the publication; and

       (d)    Media format of the publication.

RESPONSE:




Identify any statements by You, including, but not limited to statements made at a press
conference, interview, press release, speech, podcast, or public appearance, concerning Konnech,
Eugene Yu, Konnech Data, Hotel Room Data, Konnech Computers, this Lawsuit, the Tiger
Project, and/or Ripcord. Include in Your answer a description, in detail, of the following:

       (a)    Date of the statement;

       (b)    Where the statement was made;

       (c)    A description of each such statement; and

       (d)    Whether there are any presentation materials, notes, outlines, scripts, video
              recordings, and/or audio recordings concerning such statement.


                                               15
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 17 of 115 PageID #: 50




RESPONSE:




Identify and describe the “Tiger Project,” including but not limited to the following:

       (a)     The meaning of the phrase “Tiger Project”;

       (b)     The meaning of the phrase “Tiger Droppings”;

       (c)     A description of all “Tiger Droppings” that resulted from the “Tiger Project”;

       (d)     The date on which the “Tiger Project” commenced;

       (e)     The subject and/or targets of the “Tiger Project”;

       (f)     The identity of all people and organizations involved in the “Tiger Project”;

       (g)     The identity of all people and organizations who provided You with “Tiger
               Droppings” or any information regarding Konnech following the Pit; and

       (h)     The purpose of the “Tiger Project.”

RESPONSE:




Identify and describe Your involvement with the Los Angeles County District Attorney’s Office’s
investigation into Konnech and/or Eugene Yu, including but not limited to the following:

       (a)     When You first Communicated with anyone connected with the Los Angeles
               County District Attorneys’ Office concerning or relating to Konnech and/or Eugene
               Yu;

       (b)     How many times You Communicated with anyone connected with the Los Angeles
               County District Attorneys’ Office concerning or relating to Konnech and/or Eugene
               Yu;

       (c)     Who you communicated with (including name, position with the county, address
               and telephone of each such person);

       (d)     The date and location of each such Communication identified in response to (c);

       (e)     A description of any Documents You provided to anyone connected with the Los
               Angeles County District Attorneys’ Office concerning or relating to Konnech


                                                16
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 18 of 115 PageID #: 51




               and/or Eugene Yu

       (f)     Whether You provided sworn testimony concerning or relating to Konnech and/or
               Eugene Yu in connection with the Los Angeles County District Attorney’s Office’s
               investigation into Konnech and/or Eugene Yu; and

       (g)     The date and location of each instance You provided testimony in response to (f).

RESPONSE:




Identify all fund-raising events that You have been involved with since August 2022, including
The Pit, which concerned or related to Konnech and/or Eugene Yu.

RESPONSE:




Identify the total amount of money paid by True the Vote, Inc. to You, OPSEC Group, LLC,
CoverMe, Taylor Phillips, Mike Hasson, @The_Authority, @KanekoaTheGreat, Dinesh D’Souza
and/or any other person or entity with which You are affiliated since January 1, 2020.

RESPONSE:




Identify every fact supporting in whole or in part each of the affirmative defenses identified in
Your Answer.

RESPONSE:




Identify and describe all lawsuits in which You are currently or have been a party within the past
ten (10) years.

RESPONSE:




                                               17
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 19 of 115 PageID #: 52




Identify each person (by name, address and telephone number) whom You expect to call to testify
at trial pursuant to Rule 26 of the Federal Rules of Civil Procedure.

RESPONSE:




Identify each person(s) answering, supplying information, or in any way assisting with the
preparation of the answers to these interrogatories.

RESPONSE:




             PLAINTIFF’S FIRST SET OF REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION 1:

All video, audio and/or transcripts, and photographs of The Pit.

RESPONSE:


REQUEST FOR PRODUCTION 2:

All video, audio and/or transcripts of The Pit by RSBN, including the “Exclusive” video coverage.

RESPONSE:


REQUEST FOR PRODUCTION 3:

Any and all Communications with the RSBN regarding The Pit, Konnech, Eugene Yu, Konnech
Computer, Konnech Data, Hotel Room Data, and/or this Lawsuit.

RESPONSE:


REQUEST FOR PRODUCTION 4:

All Documents and Communications with RSBN regarding the planned release of RSBN’s
“Exclusive” video coverage of The Pit.


                                                18
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 20 of 115 PageID #: 53




RESPONSE:


REQUEST FOR PRODUCTION 5:

Any and all agreements, contracts, memorandums of understanding or otherwise between any of
the Defendants and RSBN concerning The Pit.

RESPONSE:


REQUEST FOR PRODUCTION 6:

Any and all non-disclosure agreements with any media organization concerning Konnech, Eugene
Yu, Konnech Data, Hotel Room Data, Konnech Computers, this Lawsuit, the Tiger Project, and/or
Ripcord.

RESPONSE:


REQUEST FOR PRODUCTION 7:

Any and all Communications with RSBN regarding any request by any of the Defendants that
RSBN not record, stream, or air any portion of The Pit.

RESPONSE:


REQUEST FOR PRODUCTION 8:

Any and all Communications with RSBN regarding any request by any of the Defendants that
RSBN delete or destroy and portion of any recording of The Pit.

RESPONSE:


REQUEST FOR PRODUCTION 9:

Any and all Documents and Communications concerning the sale or attempted sale of media rights,
production rights, filmmaking rights, story rights, and/or any other agreement to create, produce,
film, publish, direct, or otherwise participate in any film, movie, documentary, book, or narrative
concerning The Pit, Konnech, Eugene Yu, Konnech’s Computers, Konnech’s Data, the Tiger
Project, and/or Ripcord.

RESPONSE:




                                                19
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 21 of 115 PageID #: 54




REQUEST FOR PRODUCTION 10:

Any and all Communications with Dinesh D’Souza concerning the sale or attempted sale of media
rights, production rights, filmmaking rights, story rights, and/or any other agreement to create,
produce, film, publish, direct, or otherwise participate in any film, movie, documentary, book, or
narrative concerning Konnech, Eugene Yu, Konnech’s Computers, Konnech’s Data, the Tiger
Project, and/or Ripcord.

RESPONSE:


REQUEST FOR PRODUCTION 11:

Any and all lists of invitees, registrants, attendees, speakers, vendors, and/or advertisers in
connection with The Pit, including drafts of same.

RESPONSE:



REQUEST FOR PRODUCTION 12:

Any and all Documents and communications regarding any investigation You performed and/or
on which You relied on concerning the following statements previously made by any of the
Defendants:

       (a)     That Konnech is a “Red Chinese communist op”;

       (b)     That Konnech and its employees are “Chinese operatives”;

       (c)     That Konnech’s software “apps were running form China, the database is running
               in China. It’s on the Chinese internet, meaning the Chinese own it,” as stated during
               the August 30 2022 podcast titled “Here’s How They’ll Try to Steal the Midterms”;

       (d)     That Konnech is affiliated with the Chinese Communist Party;

       (e)     That Konnech is affiliated with the Confucius Institute;

       (f)     That Konnech is involved in election fraud;

       (g)     That Konnech engaged in bribery in connection with a purported Detroit contract;

       (h)     That Konnech stores poll worker data on servers in China;

       (i)     That You accessed and/or have seen Konnech data related to Allegheny, PA; and

       (j)     That Konnech stores any ballot data on servers in China.




                                                20
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 22 of 115 PageID #: 55




RESPONSE:



REQUEST FOR PRODUCTION 13:

Any and all Documents concerning the factual basis, if any, supporting the following statements
previously made by any of the Defendants:

       (a)    That Konnech is a “Red Chinese communist op”;

       (b)    That Konnech and its employees are “Chinese operatives”;

       (c)    That Konnech’s software “apps were running form China, the database is running
              in China. It’s on the Chinese internet, meaning the Chinese own it,” as stated during
              the August 30 2022 podcast titled “Here’s How They’ll Try to Steal the Midterms”;

       (d)    That Konnech is affiliated with the Chinese Communist Party;

       (e)    That Konnech is affiliated with the Confucius Institute;

       (f)    That Konnech is involved in election fraud; and

       (g)    That Konnech engaged in bribery in connection with a purported Detroit contract;

       (h)    That Konnech stores poll worker data on servers in China;

       (i)    That You accessed and/or have seen Konnech data related to Allegheny, PA; and

       (j)    That Konnech stores any ballot data on servers in China.

RESPONSE:



REQUEST FOR PRODUCTION 14:

Any and all Documents and Communications to support the position in Phillips’ affidavit attached
in support of Defendants’ Submission of Evidence in Furtherance of Request to Purge Finding of
Contempt, that “the computer in question may not have been actually ‘owned’ by Konnech Inc.,
as that term is commonly understood.” (Doc. 46, 46-1).

RESPONSE:



REQUEST FOR PRODUCTION 15:

Any and all Documents and Communications reflecting compliance with Phillips’ sworn statement


                                               21
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 23 of 115 PageID #: 56




that he would “work confidentiality, with all diligence, expedience and in good faith with Plaintiff
and counsel for Plaintiff to answer the questions set out” in connection with the TRO and
Preliminary Injunction.

RESPONSE:


REQUEST FOR PRODUCTION 16:

The complete communication thread (including native files of all media shared in the thread)
between You and/or Phillips, the purported FBI agents and any other person, which Defendants
filed in this Lawsuit as Exhibit B to Defendants’ Submission of Evidence in Furtherance of
Request to Purge Finding of Contempt (Docs. 46, 46-1).

RESPONSE:



REQUEST FOR PRODUCTION 17:

Any and all Konnech property, Konnech Data and/or Hotel Room Data in Your possession,
custody or control.

RESPONSE:



REQUEST FOR PRODUCTION 18:

Any and all video and/or pictures of Konnech’s offices, Eugene Yu’s home, Eugene Yu and any
current or former employee of Konnech.

RESPONSE:



REQUEST FOR PRODUCTION 19:

Any and all Documents and Communications with any private investigator and/or other person
retained to investigate and/or conduct surveillance of Konnech, Eugene Yu, and/or any current or
former employee of Konnech.

RESPONSE:




                                                22
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 24 of 115 PageID #: 57




REQUEST FOR PRODUCTION 20:

Any and all Konnech Data and/or Hotel Room Data in Your possession, custody or control.

RESPONSE:



REQUEST FOR PRODUCTION 21:

Any and all Documents demonstrating that You know anyone who accessed Konnech Data and/or
Hotel Room Data without express authorization by Konnech.

RESPONSE:



REQUEST FOR PRODUCTION 22:

All audit logs which reflect any access to any Konnech Computer or server in China which housed
any Konnech Data or Hotel Room Data.

RESPONSE:



REQUEST FOR PRODUCTION 23:

All connection logs which reflect any access to any Konnech Computer or server in China which
housed any Konnech Data or Hotel Room Data.

RESPONSE:



REQUEST FOR PRODUCTION 24:

All Documents reflecting that any Konnech Data or Hotel Room Data was stored, housed, located
on or otherwise available on a Mongo DB database or Mongo DB server.

RESPONSE:



REQUEST FOR PRODUCTION 25:

All Documents reflecting that any Konnech Data or Hotel Room Data was stored, housed, located
on or otherwise available on the China Unicom backbone.


                                              23
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 25 of 115 PageID #: 58




RESPONSE:



REQUEST FOR PRODUCTION 26:

All Documents and Communications reflecting how and when any Konnech Computer, Konnech
Data or Hotel Room Data was accessed, including but not limited to documents reflecting the
specific IP address(es) allegedly accessed, the contents of the data accessed, and the total amount
of data accessed.

RESPONSE:


REQUEST FOR PRODUCTION 27:

All Documents and Communications reflecting how and when the “computer”—described by
Defendants in their Motion to Dissolve Preliminary Injunction as a “computer” “not in the U.S.”
(Doc. 64, last paragraph on p. 2)—was accessed, including but not limited to documents reflecting
the specific IP address(es) allegedly accessed, the contents of the data accessed, and the total
amount of data accessed.

RESPONSE:


REQUEST FOR PRODUCTION 28:

All Documents and Communications reflecting any default and/or backend user name and/or
password for accessing any Konnech Computer and/or Konnech Data.

RESPONSE:


REQUEST FOR PRODUCTION 29:

All Documents and Communications reflecting all users of any Konnech Computer.

RESPONSE:


REQUEST FOR PRODUCTION 30:

All Documents and Communications reflecting any and all Konnech employee or staff credentials
used to access any Konnech Computer and/or Konnech Data.

RESPONSE:




                                                24
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 26 of 115 PageID #: 59




REQUEST FOR PRODUCTION 31:

Any and all Communications between You, Konnech, Eugene Yu, or any current or former
employee of Konnech.

RESPONSE:



REQUEST FOR PRODUCTION 32:

Any and all Communications between Defendants concerning or relating to Konnech, Eugene Yu,
Konnech Computer, Konnech Data and/or Hotel Room Data.

RESPONSE:



REQUEST FOR PRODUCTION 33:

All Documents and Communications concerning Konnech, Eugene Yu, Konnech Computers
Konnech Data, and/or Hotel Room Data, which the Pit “Anons” and/or “Pitsters” have “unearthed”
from the “data they received at The Pit.”

RESPONSE:



REQUEST FOR PRODUCTION 34:

Any and all Communications between You and any of the following concerning or relating to
Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel Room Data, and/or this Lawsuit:

       (a)    Mike Hasson;

       (b)    the third, unnamed person at the Hotel Meeting;

       (c)    any other person yet to be named who was present at the Hotel Meeting

       (d)    Taylor Phillips;

       (e)    OPSEC Group, LLC;

       (f)    the FBI, or any other government agency, or any agent working for the FBI or any
              other government agency;

       (g)    any advertisers at the Pit;

       (h)    the person(s) affiliated with Truth Social username @The_Authority;


                                             25
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 27 of 115 PageID #: 60




       (i)    the person(s) affiliated with Truth Social username @KanekoaTheGreat;

       (j)    the person(s) affiliated with Truth Social username @CognititveCarbon;

       (k)    the person(s) affiliated with the Truth Social username @BrianCates;

       (l)    the person(s) affiliated with the Truth Social username @blondepatriot1776;

       (m)    person(s) affiliated with the Truth Social username @GusQuixote;

       (n)    Jeffrey Pederson;

       (o)    Shannon Townsend;

       (p)    Trevor Fitzgibbon;

       (q)    Dinesh D’Souza

       (r)    Eric Neff;

       (s)    Andrew Stevens;

       (t)    Marc Beaart;

       (u)    Grant Bradley; and

       (v)    Any other person.

RESPONSE:



REQUEST FOR PRODUCTION 35:

Your cell phone records reflecting all communications with anyone present at the Hotel Meeting
since January 2020.

RESPONSE:



REQUEST FOR PRODUCTION 36:

Any and all Communications with anyone present at the Hotel Meeting since January 2020.

RESPONSE:




                                             26
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 28 of 115 PageID #: 61




REQUEST FOR PRODUCTION 37:

Any and all Communications between You and the FBI or any federal agency or any agent working
for the FBI or federal agency concerning or relating to Your purported role as a confidential
informant, including, but not limited to, any agreements between You, or any offer or actual
payment of money.

RESPONSE:



REQUEST FOR PRODUCTION 38:

Any confidential informant agreement or other agreement between You and any governmental
entity and/or agency, including but not limited to the FBI or NSA, in effect at any time between
January 1, 2020 and the present.

RESPONSE:



REQUEST FOR PRODUCTION 39:

All FD-302 Forms concerning an FBI report or summary of an interview You provided to the FBI
concerning or relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel Room
Data, and/or this Lawsuit.

RESPONSE:



REQUEST FOR PRODUCTION 40:

Any sworn statements that You provided to the FBI or any other governmental entity or agency
concerning or relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel Room
Data, and/or this Lawsuit.

RESPONSE:



REQUEST FOR PRODUCTION 41:

Any and all Communications with the Arizona Attorney General concerning or relating to You
claiming to be an FBI confidential informant in the last five (5) years.

RESPONSE:



                                              27
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 29 of 115 PageID #: 62




REQUEST FOR PRODUCTION 42:

Any and all Communications between You and any person affiliated with any law enforcement
agency concerning or relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel
Room Data, and/or this Lawsuit.

RESPONSE:



REQUEST FOR PRODUCTION 43:

Any and all Communications between You and any government agency, municipality and/or
county concerning or relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel
Room Data, and/or this Lawsuit.

RESPONSE:



REQUEST FOR PRODUCTION 44:

Any and all Communications between You and anyone who was invited to and/or attended the
The Pit concerning or relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel
Room Data, and/or this Lawsuit.

RESPONSE:



REQUEST FOR PRODUCTION 45:

Any and all photographs or video recordings taken by any of the Defendants or anyone else at the
Hotel Meeting.

RESPONSE:



REQUEST FOR PRODUCTION 46:

Any receipts and/or requests for reimbursement of expenses concerning the Hotel Meeting, hotel
accommodations related thereto, and for transportation.

RESPONSE:




                                              28
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 30 of 115 PageID #: 63




REQUEST FOR PRODUCTION 47:

All Documents and Communications reflecting any investigation of You by the FBI.

RESPONSE:



REQUEST FOR PRODUCTION 48:

Any and all advertisements for The Pit.

RESPONSE:



REQUEST FOR PRODUCTION 49:

Any and all advertisements for the Fake Pit.

RESPONSE:



REQUEST FOR PRODUCTION 50:

Any and all advertisements for products or services offered for sale at or in connection with The
Pit.

RESPONSE:



REQUEST FOR PRODUCTION 51:

Any and all demonstratives, speeches, presentations, including PowerPoint presentations and
outlines of presentations, including drafts of same, concerning The Pit.

RESPONSE:



REQUEST FOR PRODUCTION 52:

Any and all Documents and Communications concerning or relating to The Pit.

RESPONSE:




                                               29
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 31 of 115 PageID #: 64




REQUEST FOR PRODUCTION 53:

Any notes, journal entries, diaries, calendars, or Documents otherwise prepared in preparation for,
during, or after The Pit concerning The Pit.

RESPONSE:



REQUEST FOR PRODUCTION 54:

Documents sufficient to show all payments received by You in connection with The Pit.

RESPONSE:



REQUEST FOR PRODUCTION 55:

All Documents and Communications, including but not limited to video or audio recordings, and
summaries and/or excerpts of same, concerning statements made by You at The Pit.

RESPONSE:



REQUEST FOR PRODUCTION 56:

All Documents and Communications concerning statements, including summaries and/or excerpts
of same, made at The Pit concerning or relating to Konnech, Eugene Yu, Konnech Computer,
Konnech Data, and/or Hotel Room Data.

RESPONSE:



REQUEST FOR PRODUCTION 57:

All Documents and Communications concerning The Pit after the conclusion of The Pit.

RESPONSE:



REQUEST FOR PRODUCTION 58:

Any user agreement and/or membership agreement under which You used BinaryEdge software
from January 1, 2021 to the present date.



                                                30
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 32 of 115 PageID #: 65




RESPONSE:



REQUEST FOR PRODUCTION 59:

Your resume from January 2021 to the present date.

RESPONSE:



REQUEST FOR PRODUCTION 60:

Any press releases by You concerning or relating to Konnech, Eugene Yu, Konnech Computer,
Konnech Data, Hotel Room Data, and/or this Lawsuit.

RESPONSE:



REQUEST FOR PRODUCTION 61:

Any Documents and Communications concerning statements by You made at a press conference,
interview, rally, demonstration, fund raiser, speech, podcast or public appearance or provided to
the media concerning or relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data,
Hotel Room Data, and/or this Lawsuit.

RESPONSE:



REQUEST FOR PRODUCTION 62:

Any video, audio and/or transcripts of any interviews, press conferences, rallies, demonstrations,
speeches, fund raisers, podcasts, or public appearances at which any statements concerning or
relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel Room Data, and/or
this Lawsuit were made and during which You appeared.

RESPONSE:



REQUEST FOR PRODUCTION 63:

Any video, audio and/or transcripts of any of the Defendants’ appearance on the following shows
and/or podcasts:




                                               31
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 33 of 115 PageID #: 66




       (a)    the December 15, 2022 Rick & Bubba show;

       (b)    the August 15, 2022 podcast titled “Devolution Power Hour – Gregg Phillips
              Interview”;

       (c)    the August 23, 2022 “Prophets and Patriots” podcast;

       (d)    the August 30, 2022 podcast titled “Here’s How They’ll Try to Steal the Midterms”;

       (e)     the September 2, 2022 “Patriot Games” podcast;

       (f)    the August 31, 2022 podcast titled “(Allegedly) Stealing the Chinese Internet w/
              Gregg Phillips of 2000 Mules”;

       (g)    the podcast Patriot Games, Episode 6 titled “Game Changer”;

       (h)    the August 31, 2022 podcast called “Alabama Unfiltered”; and

       (i)    the September 5, 2022 True the Vote podcast hosted on Locals.

RESPONSE:



REQUEST FOR PRODUCTION 64:

Any video, audio and/or transcripts of Your appearance on the August 19, 2022 podcast hosted by
Mary Grace.

RESPONSE:



REQUEST FOR PRODUCTION 65:

Any notes, outlines, talking points or demonstrative aids for any interviews, press conferences,
rallies, demonstrations, speeches, fund raisers, podcasts, or public appearances attended by You
that concern or relate to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel Room
Data, and/or this Lawsuit.

RESPONSE:



REQUEST FOR PRODUCTION 66:

Any and all Documents regarding any investigation You performed concerning the statements
posted on Your Social Media concerning or related to Konnech, Eugene Yu, Konnech Computer,
Konnech Data, Hotel Room Data, and/or this Lawsuit.


                                              32
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 34 of 115 PageID #: 67




RESPONSE:



REQUEST FOR PRODUCTION 67:

Any and all Documents and Communications concerning or relating to the “Ripcord,” as that term
was used by any of the Defendants during testimony in this Lawsuit on October 27, 2022.

RESPONSE:



REQUEST FOR PRODUCTION 68:

Any and all Documents and Communications concerning or relating to the “Tiger Project.”

RESPONSE:



REQUEST FOR PRODUCTION 69:

Any and all Documents concerning or relating to Konnech, Eugene Yu, Konnech Computer,
Konnech Data, Hotel Room Data, and/or this Lawsuit which have been disseminated by or through
the Open.Ink website or uploaded or will be uploaded to the Open.Ink website.

RESPONSE:



REQUEST FOR PRODUCTION 70:

Any and all statements, comments, or other communications by any financial donor, supporter or
contributor to True the Vote or any person or entity with which True the Vote is affiliated, which
refers or relates to Konnech, Eugene Yu, or this Lawsuit.

RESPONSE:



REQUEST FOR PRODUCTION 71:

Any and all Documents and Communications regarding any request or plea for donations or
contributions to any of the Defendants since January 2020, including but not limited to any Social
Media post, GoFundMe page, or video or podcast recording.

RESPONSE:



                                               33
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 35 of 115 PageID #: 68




REQUEST FOR PRODUCTION 72:

Any and all Documents reflecting all advertisements of any products and/or merchandise offered
for sale at or in connection with Your detention for contempt in this Lawsuit.

RESPONSE:



REQUEST FOR PRODUCTION 73:

Any and all Documents regarding donations You or any person or entity with which you are
affiliated received in connection with Your detention for contempt in this Lawsuit.

RESPONSE:



REQUEST FOR PRODUCTION 74:

Any and all Documents regarding any statements or videos posted on Your Social Media accounts
concerning or relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel Room
Data, and/or this Lawsuit, including, but not limited to, drafts of the statements or videos, any
comments on the statements or videos, any response to the comments on the statements or videos,
and any republications of the statements or videos by the media.

RESPONSE:



REQUEST FOR PRODUCTION 75:

Any and all Documents sufficient to show each Defendants’ net worth from January 1, 2018 to the
present date.

RESPONSE:



REQUEST FOR PRODUCTION 76:

Any and all Documents sufficient to show each Defendants’ audited or unaudited financial balance
sheets from January 1, 2018 to the present date.

RESPONSE:




                                               34
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 36 of 115 PageID #: 69




REQUEST FOR PRODUCTION 77:

Any and all Documents sufficient to show each Defendants’ audited or unaudited income
statements from January 1, 2018 to the present date.

RESPONSE:



REQUEST FOR PRODUCTION 78:

Any and all Documents sufficient to show each Defendants’ state and federal tax returns and
schedules thereto from January 1, 2018 to the present date.

RESPONSE:



REQUEST FOR PRODUCTION 79:

All of Your IRS Form 1099’s, K-1’s and W-2s from January 1, 2018 to the present date.

RESPONSE:



REQUEST FOR PRODUCTION 80:

All Documents reflecting all money paid to You by True the Vote, Inc. from January 1, 2018 to
the present date.

RESPONSE:



REQUEST FOR PRODUCTION 81:

All Documents reflecting all money paid to Phillips by True the Vote, Inc. from January 1, 2018
to the present date.

RESPONSE:



REQUEST FOR PRODUCTION 82:

All Documents reflecting all money paid to OPSEC Group, LLC by True the Vote, Inc. from
January 1, 2018 to the present date.



                                              35
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 37 of 115 PageID #: 70




RESPONSE:



REQUEST FOR PRODUCTION 83:

All Documents reflecting all money paid to You in connection with 2000 Mules.

RESPONSE:



REQUEST FOR PRODUCTION 84:

Any and all Documents regarding payments, contributions, and/or donations You or any person or
entity with which you are affiliated received in connection with, concerning or relating to Konnech,
Eugene Yu, Konnech Computers, Konnech Data, Hotel Room Data, and/or this Lawsuit.

RESPONSE:



REQUEST FOR PRODUCTION 85:

All Documents reflecting all money paid by You and/or any of the Defendants to the person(s)
affiliated with the following Truth Social usernames from January 1, 2018 to the present date:

       (a)     @TheAuthority;

       (b)     @KanekoaTheGreat;

       (c)     @BrianCates;

       (d)     @GusQuixote; and

       (e)     @blondepatriot1776.

RESPONSE:



REQUEST FOR PRODUCTION 86:

Any and all statements, whether tape recorded, video recorded, written, or otherwise transcribed
or preserved, made at any time by You concerning or relating to Konnech, Eugene Yu, Konnech
Computer, Konnech Data, Hotel Room Data, and/or this Lawsuit.

RESPONSE:



                                                36
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 38 of 115 PageID #: 71




REQUEST FOR PRODUCTION 87:

Any and all Documents containing facts supporting in whole or in part each of the affirmative
defenses asserted in Defendants’ First Amended Answer.

RESPONSE:



REQUEST FOR PRODUCTION 88:

Any sworn testimony by You, whether in deposition, in Court, or anywhere else within the last
five (5) years.

RESPONSE:



REQUEST FOR PRODUCTION 89:

All public records requests each of the Defendants submitted to any state, county or municipality
seeking documents concerning or relating to Konnech, and the records produced in response to
same.

RESPONSE:



REQUEST FOR PRODUCTION 90:

All Documents and Communications concerning or relating to any whistleblower claims You
made or attempted to make concerning or relating to Konnech, Eugene Yu, Konnech Computer,
Konnech Data, Hotel Room Data, and/or this Lawsuit.

RESPONSE:



REQUEST FOR PRODUCTION 91:

All Documents and Communications concerning or relating to any criminal complaint, police
report, or other claim You made to any law enforcement agency concerning or relating to Konnech,
Eugene Yu, Konnech Computer, Konnech Data, Hotel Room Data, and/or this Lawsuit.

RESPONSE:




                                               37
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 39 of 115 PageID #: 72




REQUEST FOR PRODUCTION 92:

All video and/or audio recordings taken in Judge Kenneth Hoyt’s courtroom on October 27, 2022
and/or October 31, 2022.

RESPONSE:



REQUEST FOR PRODUCTION 93:

All Documents and Communications concerning the press conference which Phillips claims to
have planned to attend on October 31, 2022, but did not allegedly due to his detention for contempt
in this Lawsuit.

RESPONSE:



REQUEST FOR PRODUCTION 94:

All Documents and Communications reflecting all URLs and/or domain names claimed by,
owned, and/or controlled by You.

RESPONSE:



REQUEST FOR PRODUCTION 95:

Any video, audio or transcripts of any interviews of Trevor Fitzgibbon related to Konnech, Eugene
Yu, and/or this Lawsuit, including but not limited to the interview conducted by Ivory Hecker.

RESPONSE:




                                                38
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 40 of 115 PageID #: 73




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 KONNECH, INC.,                                   §
                                                  §
                PLAINTIFF,                        §
                                                  §
 v.                                               §    CIVIL ACTION NO. 4:22-CV-03096
                                                  §
 TRUE THE VOTE, INC., GREGG                       §
 PHILLIPS, and CATHERINE                          §
 ENGELBRECHT,                                     §
                                                  §
                DEFENDANTS.                       §
                                                  §


                         PLAINTIFF KONNECH, INC’S
      FIRST SET OF INTERROGATORIES AND REQUESTS FOR PRODUCTION TO
                        DEFENDANT GREGG PHILLIPS

To:     Defendant Gregg Phillips, by and through his attorneys of record, Michael J. Wynne,
        Gregor Wynne Arney, PLLC, 909 Fannin Street, Suite 3800, Houston, Texas 77010.

        Pursuant to Rules 26, 33, and 34 of the Federal Rules of Civil Procedure, Plaintiff Konnech,

Inc. (“Plaintiff” or “Konnech”) hereby propounds these first set of Interrogatories and Requests

for Production (collectively, the “Requests”) on Defendant Gregg Phillips (“Defendant” or

“Phillips”). Plaintiff requests that Defendant respond in writing and produce the requested

documents within thirty (30) days in accordance with the Federal Rules of Civil Procedure and the

Definitions and Instructions provided in this Request.       Defendant should serve the written

responses and responsive documents and things in his possession, custody, or control upon the

undersigned counsel. Plaintiff also requests that Defendant continue to supplement his document

production and answers to these requests in accordance with the Federal Rules of Civil Procedure.
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 41 of 115 PageID #: 74




                                                   Respectfully submitted,

                                                   KASOWITZ BENSON TORRES LLP



                                                   By: /s/ Constantine Z. Pamphilis
                                                       Constantine Z. Pamphilis
                                                       Attorney in Charge
                                                       Texas State Bar No. 00794419
                                                       SDTX Bar No. 19378
                                                       DPamphilis@kasowitz.com
                                                       Nathan W. Richardson
                                                       Texas State Bar No. 24094914
                                                       SDTX Bar No. 24094914
                                                       NRichardson@kasowitz.com
                                                       1415 Louisiana Street, Suite 2100
                                                       Houston, Texas 77002
                                                       (713) 220-8800
                                                       (713) 222-0843 (fax)

                                                   Attorneys for Plaintiff Konnech, Inc.




                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing has been served on all counsel of
record pursuant to the Federal Rules of Civil Procedure and the agreement of counsel dated
February 24, 2023 regarding e-mail service, on this the 24th day of February, 2023.



                                                     /s/ Nathan W. Richardson
                                                     Nathan W. Richardson




                                               2
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 42 of 115 PageID #: 75




                                     I.      DEFINITIONS

   1. “You,” “Your,” or “Defendant” refer to Defendant Gregg Phillips and all of his agents,
      employees, representatives and all persons and entities acting and purporting to act on his
      behalf.

   2. “Defendants” refers to True the Vote, Inc., Gregg Phillips, and Catherine Engelbrecht and
      all of their agents, employees, representatives and all persons and entities acting and
      purporting to act on their behalf.

   3. “Plaintiff” or “Konnech” refers to Konnech, Inc. and all of its agents, employees,
      representatives and all persons and entities acting or purporting to act on its behalf.

   4. “Lawsuit” means the above-captioned action.

   5. “Complaint” means the Plaintiff’s First Amended Complaint filed in the Lawsuit.

   6. “True the Vote” or “TTV” means True the Vote, Inc. and all of its agents, employees,
      representatives and all persons and entities acting or purporting to act on its behalf.

   7. “Catherine” or “Engelbrecht” means Catherine Engelbrecht.

   8. “Mike Hasson” means Mike Hasson, the person identified by You at the October 27, 2022
      hearing as one of the people present at the Hotel Meeting (defined below).

   9. “OPSEC Group LLC” means OPSEC Group LLC, and all of its agents, employees,
      representatives and all persons and entities acting and purporting to act on its behalf.

   10. “RSBN” means Right Side Broadcasting Network, LLC and all of its agents, employees,
       representatives and all persons and entities acting and purporting to act on its behalf.

   11. “The Pit” means the August 13, 2022 event in Arizona called “The Pit.”

   12. “The Fake Pit” means the event scheduled for and/or held on July 15, 2022, and advertised
       as “The Pit.”

   13. “Konnech Computer” means any electronic, magnetic, optical, electrochemical, or other
       high speed data processing device performing logical, arithmetic, or storage functions, and
       includes any data storage facility or communications facility directly related to or operating
       in conjunction with such device, that is owned or otherwise controlled by Konnech.

   14. “Konnech Data” means any information that is owned, possessed, or controlled by
       Konnech, including but not limited to any electronic information stored on, transferred
       through, or otherwise accessible by a Konnech Computer.

   15. “Hotel Room Data” means the data and information that Defendants claim Gregg Phillips
       viewed during the Hotel Meeting (defined below), regardless of whether or not such data




                                                 3
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 43 of 115 PageID #: 76




      or information is believed by Defendants to be owned, possessed, or controlled by
      Konnech.

   16. “Ripcord” shall have the meaning as used by Defendants at the October 27, 2022 hearing
       in this Lawsuit.

   17. “TRO” means the Temporary Restraining Order issued on September 12, 2022 in this
       Lawsuit.

   18. “Preliminary Injunction” means the Preliminary Injunction issued on November 3, 2022 in
       this Lawsuit.

   19. “Hotel Meeting” refers to the January 2021 meeting in Dallas, Texas between Gregg
      Phillips, Mike Hasson, and at least one other unidentified individual, during which Gregg
      Phillips has testified that Mike Hasson showed him data allegedly on a Chinese server that
      appeared to belong to Konnech.

   20. “Social Media” refers to Truth Social, Facebook, Twitter, Instagram, LinkedIn, TikTok,
      Pinterest, YouTube, Reddit, Snapchat, Rumble, Substack, Tumblr, and Locals any other
      online interactive technologies that facilitate the creation and sharing of ideas, thoughts,
      information and other forms of expression through virtual networks and communities.

   21. “FBI” means the Federal Bureau of Investigation.

   22. “NSA” means the National Security Agency.

   23. “Communication” or “Communications” means all exchanges of information, regardless
       of form, including, without limitation, all conversations, discussions, inquiries,
       correspondence, notes (handwritten or otherwise), message slips, logs, emails (or other
       similar electronic communications, text messages, instant messages, or other such
       transmittals of information, including but not limited to any encrypted messaging
       application such as Variety, Signal, Wickr, Ding Talk, Telegram or WhatsApp. The terms
       “Communication” and “Communications” includes internal and external communications.

   24. “Electronically Stored Information” is defined broadly to give the full scope of that term
       as contemplated under the Federal Rules of Civil Procedure, and refers to all computer or
       electronically stored or generated data and information, and shall include all attachments
       to and enclosures with any requested item, and all drafts thereof. Electronically Stored
       Information includes information stored in any format and on any storage media, including
       but not limited to: hard disks; floppy disks; optical disks; flash memory devices; and
       magnetic tape, whether fixed, portable, or removable. Electronically Stored Information
       also includes: word-processing documents; electronic spreadsheets; electronic presentation
       documents; e-mail messages; image files; sound files; and material or information stored
       in a database, or accessible from a database. Electronically Stored Information also
       includes all associated metadata that is maintained or saved, which includes: document
       title or name; file name; date and time of creation; date and time of last edit; identity of
       author; identity of owner; identities of editors; identities of recipients; changes; history of
       changes; e-mail header information; history of who viewed an e-mail and when; and e-mail


                                                 4
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 44 of 115 PageID #: 77




      routing information. Electronically Stored Information further includes: correspondence;
      telegrams; memoranda; Communications; minutes or records of meetings and conferences;
      lists of persons attending meetings or conferences; summaries; records of conversations;
      drafts; notes; notebooks; logs; invention records and disclosures; translations; drawings;
      graphs; charts; photographs; sound recordings; images data compilations; computer
      records or printouts; specifications; reports; opinions; summaries; agreements; forecasts;
      plan drawings; mask works; engineering drawings; expressions or statements of policy;
      consultations; brochures; pamphlets; advertisements; publications; circulars; trade letters;
      press releases; and drafts of any of the foregoing.

   25. “Electronically Stored Information” is defined broadly to give the full scope of that term
       as contemplated under the Federal Rules of Civil Procedure, and refers to all computer or
       electronically stored or generated data and information, and shall include all attachments
       to and enclosures with any requested item, and all drafts thereof. Electronically Stored
       Information includes information stored in any format and on any storage media, including
       but not limited to: hard disks; floppy disks; optical disks; flash memory devices; and
       magnetic tape, whether fixed, portable, or removable. Electronically Stored Information
       also includes: word-processing documents; electronic spreadsheets; electronic presentation
       documents; e-mail messages; image files; sound files; and material or information stored
       in a database, or accessible from a database. Electronically Stored Information also
       includes all associated metadata that is maintained or saved, which includes: document
       title or name; file name; date and time of creation; date and time of last edit; identity of
       author; identity of owner; identities of editors; identities of recipients; changes; history of
       changes; e-mail header information; history of who viewed an e-mail and when; and e-mail
       routing information. Electronically Stored Information further includes: correspondence;
       telegrams; memoranda; Communications; minutes or records of meetings and conferences;
       lists of persons attending meetings or conferences; summaries; records of conversations;
       drafts; notes; notebooks; logs; invention records and disclosures; translations; drawings;
       graphs; charts; photographs; sound recordings; images data compilations; computer
       records or printouts; specifications; reports; opinions; summaries; agreements; forecasts;
       plan drawings; mask works; engineering drawings; expressions or statements of policy;
       consultations; brochures; pamphlets; advertisements; publications; circulars; trade letters;
       press releases; and drafts of any of the foregoing.

   26. The singular form of a word shall be construed to include the plural, and the plural form of
       a word shall include the singular, so as to bring within the scope of these requests for
       production any information that might otherwise be considered to be beyond their scope.

   27. “And” and “or” shall be construed either conjunctively or disjunctively as required by the
       context.

   28. “Any” and “all” shall be construed as “any and all,” and the term “each” shall be construed
       as “all and each.”

   29. The terms “relating to,” “concerning,” and “reflecting” (or any form thereof) shall mean
       constituting, comprising, respecting, supporting, contradicting, stating, describing,



                                                 5
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 45 of 115 PageID #: 78




       recording, noting, embodying, containing, mentioning, studying, analyzing, discussing,
       evaluating, or relevant to.

   30. The term “including” shall mean “including without limitation” or “including but not
       limited to” the referenced items or information. The use of “including” in describing
       categories of documents should not be read to narrow any request.

   31. The terms “identify” or “identity,” unless otherwise defined in an interrogatory shall
       require you to provide:

           (a) With respect to a NATURAL PERSON, the full name, present title, present
               business and resident address (last known if present addresses are unknown), and
               business and residence telephone numbers, and the title of the last position held;

           (b) With respect to a CORPORATION, PARTNERSHIP, ASSOCIATION OR
               OTHER LEGAL ENTITY, its name, address, and legal form (e.g. corporation,
               partnership, etc.);

           (c) With respect to a DOCUMENT, its title, number, date, authors, signers, subject
               matter, addressee(s), addressor(s), or other designation, including, but not limited
               to, subject matter or general nature, person(s) receiving copies of such document,
               present location and custodian;

           (d) With respect to an ORAL STATEMENT OR COMMUNICATION, the maker, the
               recipients, when made, where made, persons present when made, mode of
               communication and subject matter;

           (e) With respect to an ACT, ACTION, OR ACTIVITY, its description, the identity of
               the person(s) participating in the act or activity, the date or approximate date on
               which the act or activity was committed, and the identities of any person(s)
               observing the act or participating in the activity;

           (f) With respect to a MEETING, the identities of the persons attending the meeting,
               the date of the meeting, the subject matter of the meeting, and the place of the
               meeting; and

           (g) With respect to a STATEMENT, the person(s) making the statement, any person(s)
               present at the time the statement was made, the approximate date of such statement,
               the subject matter of the statement, and, if possible, the exact words used.

                                   II.     INSTRUCTIONS

         In addition to the requirements set forth in the Federal Rules of Civil Procedure, which
 Plaintiff incorporates herein, the following instructions apply to each of the discovery requests
 set forth below, and are deemed to be incorporated in each individual Request:




                                                6
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 46 of 115 PageID #: 79




      1. The Documents covered by these Requests include all Documents in Your possession,
         custody or control.

      2. These discovery requests are continuing in nature and require supplementation or
         amendment to include information subsequently acquired or as required by the Federal
         Rules of Civil Procedure.

      3. If for any reason You are unable to respond to any request set forth herein, explain in detail
         Your inability to respond. If for any reason You are unable to respond to a part of any
         request but able to answer other parts of the request, respond to as much of the request as
         You can and explain in detail Your inability to respond to the remainder of the request.

      4. If You contend that any of the information requested herein is protected or privileged, so
         state and set forth the protection or privilege claimed, the facts upon which You rely to
         support the claim of protection or privilege, and the scope of said protection or privilege,
         but proceed to disclose or produce all requested information for which protection or
         privilege is not claimed. With respect to each requested Document that is being withheld,
         You are hereby requested to furnish a privilege log identifying the basis for the claim of
         privilege or protection and a description of the Document, including:

           (a)     the title of the Document and the nature and subject matter of its contents;

           (b)     the date the Document was prepared or any date appearing on the Document;

           (c)     the number of the Document’s pages, attachments and appendices; the names of
                   the persons who authored or prepared the Document, and an identification by
                   employment and title of each such person, and if the person is an attorney, a
                   statement so saying;

           (d)     the names of each person to whom the Document, or a copy thereof, was sent,
                   shown or made accessible, or to whom it was explained, together with an
                   identification of each such person and entity with which they are employed or
                   associated, and if the person is an attorney, a statement so saying;

           (e)     the number of each paragraph of these Document Requests to which the
                   Document relates;

           (f)     the portion(s) of the Document as to which privilege is claimed; and

           (g)     the type of privilege asserted.

 5.        Counsel for Plaintiff is willing to discuss with You or Your counsel any questions
           regarding perceived ambiguities in, or claims regarding the burdens involved in or
           compliance with the discovery requested herein in an effort to resolve any such issues
           without the necessity of Court intervention. If You cannot clarify any perceived
           ambiguities by reference to the Definitions, contact counsel for Plaintiff for
           clarification.



                                                     7
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 47 of 115 PageID #: 80




 6.    You shall produce all documents in the manner in which they are maintained in the
       usual course of Your business and/or You shall organize and label the documents to
       correspond with the categories in these Requests. A Request shall be deemed to include
       a request for any and all file folders within which the document was contained,
       transmittal sheets, cover letters, exhibits, enclosures, or attachments to the document in
       addition to the document itself.

 7.    Documents shall be produced in such fashion as to identify the file, folder, department,
       branch or office in which they were located and, where applicable, the natural person in
       whose possession it was found and the business address of each document’s
       custodian(s).

 8.    Documents attached to each other should not be separated. If any portion of any
       document is responsive to the document Requests, then the entire document must be
       produced.

 9.    Electronically Stored Information should be produced in the following format: As
       single-page TIFF images, at 300 dots-per-inch, with an iPRO LFP image load file and
       a Concordance delimited dataload file (*.DAT) with the following fields: BEGNO,
       ENDNO, BEGATTACH, ENDATTACH, PAGES, VOLUME, RECORDTYPE,
       SENTDATE, SENTONTIME, CREATEDATE, CREATETIME, LASTMODDATE,
       LASTMODTIME, RECEIVEDDATE, RECEIVEDTIME, PARENTFOLDER,
       AUTHOR, TO, CC, BCC, SUBJECT/TITLE (fields combined), ORIGSOURCE,
       CUSTODIAN, NATIVEPATH, ATTACHCOUNT, FILEEXT, FILENAME,
       FILETYPE, FILESIZE, APPLICATION, MD5HASH, and FULLTEXT. All
       spreadsheets responsive to these Requests that are maintained in the usual course of
       business in electronic format shall be produced in their native format (along with
       theTIFF images, linked using NATIVEPATH field).

 10.   Under no circumstances should Electronically Stored Information be converted from
       the form in which it is ordinarily maintained to a different form that makes it more
       difficult or burdensome to use. Electronically Stored Information should not be
       produced in a form that removes or significantly degrades the ability to search the
       Electronically Stored Information by electronic means where the Electronically Stored
       Information is ordinarily maintained in a way that makes it searchable by electronic
       means. Databases or underlying data should not be produced without first discussing
       production format issues with the Plaintiff’s counsel. If You decline to search or
       produce Electronically Stored Information on the ground that such Electronically
       Stored Information is not reasonably accessible because of undue burden or cost,
       identify such information by category or sources and provide detailed information
       concerning the burden or cost You claim is associated with the search or production
       of such Electronically Stored Information.

 11.   If You have reason to believe there are e-mails created that are responsive to these
       Requests that have not been retained, state the name and address of the e-mail provider
       (e.g., MSN, Yahoo!, Thunderbird, Gmail, Bloomberg, AOL, etc.) or program used by
       You and what efforts You have made to retrieve the requested information.


                                               8
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 48 of 115 PageID #: 81




 12.   In the event that any document responsive to any Request was, but is no longer, in Your
       possession, custody or control, or has been lost, destroyed, discarded or otherwise
       disposed of, You shall provide sufficient information to identify the document as
       completely as possible and state, in writing, the details and circumstances surrounding
       the disposal of the document.




                                              9
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 49 of 115 PageID #: 82




                 PLAINTIFF’S FIRST SET OF INTERROGATORIES



Identify each person (by name, address and telephone number) who was present at the Hotel
Meeting, and the following:

      (a)    All Communications You have had with that person since January 1, 2021, as well
             as any Communications you had with that person prior to January 1, 2021, but
             concerning or relating to Konnech, Konnech Data, Konnech Computers, and/or
             Hotel Room Data;

      (b)    The date of each Communication identified in response to subsection (a);

      (c)    The location of each such Communication identified in response to subsection (a);

      (d)    The means of each Communication identified in response to subsection (a);

      (e)    The purpose of each Communication identified in response to subsection (a); and

      (f)    The substance of each Communication identified in response to subsection (a),
             including whether You communicated about this Lawsuit.

RESPONSE:




In connection with any unauthorized access of Konnech’s Computer and/or Konnech’s Data of
which you are aware, identify and describe:

      (a)    Each person (by name, address and telephone number) and/or entity who You know
             was involved in accessing any Konnech Computer or Konnech Data without
             express authorization by Konnech;

      (b)    How any Konnech Computer and Konnech Data has been accessed by anyone
             without express authorization by Konnech;

      (c)    Where anyone You know was located when they connected to any Konnech
             Computer or accessed any Konnech Data without the express authorization by
             Konnech;

      (d)    The size and/or quantity of Konnech Data that anyone You know has downloaded
             without the express authorization by Konnech;

      (e)    The length of time it took anyone You know to download Konnech Data without
             the express authorization by Konnech;



                                            10
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 50 of 115 PageID #: 83




       (f)    All software and hardware anyone You know used to access Konnech’s Data
              without the express authorization by Konnech; and

       (g)    All database queries run on any Konnech Computer or Konnech Data without
              express authorization by Konnech.

RESPONSE:




Identify each person (by name, address and telephone number) and/or entity who has had
possession, custody or control of any Konnech Data.

RESPONSE:




Identify each person (by name, address and telephone number) affiliated with any law enforcement
agency, governmental entity, municipality, county or agency of any of them, with whom You have
discussed anything concerning or relating to Konnech, including the date of each communication
with each person identified, and a description of each such communication.

RESPONSE:




Identify each person (by name, address and telephone number) who has been an employee and/or
contractor for any of the following since January 1, 2021:

       (a)    True the Vote Inc.;

       (b)    OPSEC Group LLC;

       (c)    CoverMe; and

       (d)    Patriot Games (the podcast hosted by You)

RESPONSE:




                                              11
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 51 of 115 PageID #: 84




Identify (by name, address and telephone number) each person who has posted from the following
social media accounts since January 1, 2021:

       (a)     @The_Authority (Truth Social username);

       (b)     @KanekoaTheGreat (Truth Social username);

       (c)     @opsec (Truth Social username);

       (d)     @tay_phill (Truth Social username);

       (e)     @RealPatriotGames (Truth Social username);

       (f)     @GreggPhillips (Truth Social username);

       (g)     @Truethevote (Truth Social username);

       (h)     @CognitiveCarbon (Truth Social username);

       (i)     @DineshDSouza (Truth Social username);

       (j)     @mgshow (Truth Social username);

       (k)     @intheMatrixxx (Truth Social username);

       (l)     @ShadyGrooove (Truth Social username)

       (m)     @blondepatriot1776 (Truth Social username); and

       (n)     @GusQuixote (Truth Social username)

RESPONSE:




Identify and describe how and when Konnech’s Computer and/or Konnech’s Data was accessed
without authorization, including but not limited to the specific IP address(es) allegedly accessed,
the contents of the data accessed, and the total amount of data (in megabytes, gigabytes and/or
terabytes) accessed.

RESPONSE:




                                                12
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 52 of 115 PageID #: 85




Identify and describe how and when the “computer”—described by Defendants in their Motion to
Dissolve Preliminary Injunction as a “computer” “not in the U.S.” (Doc. 64, last paragraph on p.
2)—was accessed, including but not limited to the specific IP address(es) allegedly accessed, the
contents of the data accessed, and the total amount of data (in megabytes, gigabytes and/or
terabytes) accessed.

RESPONSE:




Identify any and all Social Media accounts claimed by or registered to You or any entity of which
you are affiliated, including but not limited to any “burner” accounts. For each such account,
identify the platform and Your username.

RESPONSE:




Describe any investigation that was conducted, concerning the statements posted on Your Social
Media accounts concerning Konnech, Eugene Yu, Konnech Data, Hotel Room Data, Konnech
Computers, this Lawsuit, the Tiger Project, and/or Ripcord and the factual basis to support each
such statement. Include in Your answer a description, in detail, of the following:

       (a)    Identify each person (by name, title and employer) involved in the investigation;

       (b)    Identify the date(s) of each such investigation;

       (c)    Identify every person who You communicated with or interviewed in connection
              with the investigation; and

       (d)    Describe the results of the investigation.

RESPONSE:




Identify and describe all investigation that was conducted and the factual basis to support all
statements previously made by any of the Defendants concerning Konnech, Eugene Yu, Konnech
Data, Hotel Room Data, Konnech Computers, this Lawsuit, the Tiger Project, and/or Ripcord.
Please include in your answer, a description in detail concerning the following statements of the
investigation that was conducted, who conducted the investigation, when the investigation was


                                               13
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 53 of 115 PageID #: 86




conducted and the factual basis for each statement:

       (a)     That Konnech is a “Red Chinese communist op”;

       (b)     That Konnech and its employees are “Chinese operatives”;

       (c)     That Konnech’s software “apps were running form China, the database is running
               in China. It’s on the Chinese internet, meaning the Chinese own it,” as stated during
               the August 30 2022 podcast titled “Here’s How They’ll Try to Steal the Midterms”;

       (d)     That Konnech is affiliated with the Chinese Communist Party;

       (e)     That Konnech is affiliated with the Confucius Institute;

       (f)     That Konnech is involved in election fraud;

       (g)     That Konnech engaged in bribery in connection with a purported Detroit contract;

       (h)     That Konnech stores poll worker data on servers in China;

       (i)     That You accessed and/or have seen Konnech data related to Allegheny, PA;

       (j)     That Konnech stores any ballot data on servers in China;

       (k)     That Konnech was involved in Fast Track Ballot Counting; and

       (l)     That Konnech was involved in overseas military ballots.

RESPONSE:




In connection with The Pit and the planning of same, identify and describe the following:

       (a)     The date that it was first planned;

       (b)     Who organized The Pit;

       (c)     The purpose of The Pit;

       (d)     All speakers (name, address and telephone number) at The Pit;

       (e)     All persons invited to The Pit; and

       (f)     All attendees (name, address and telephone number) to The Pit.

RESPONSE:



                                                 14
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 54 of 115 PageID #: 87




Identify each and every donor who has contributed, donated, or otherwise made any payment of
money to You or any company of which you are affiliated concerning Konnech, Eugene Yu,
Konnech Data, Hotel Room Data, Konnech Computers, this Lawsuit, the Tiger Project, and/or
Ripcord and identify the date and amount of each such contribution, donation or payment of
money.

RESPONSE:




Identify any and all publications You made, including any “ReTruths,” concerning or relating to
Konnech, Eugene Yu, Konnech Data, Hotel Room Data, Konnech Computers, this Lawsuit, the
Tiger Project, and/or Ripcord. Include in Your answer a description, in detail, of the following:

       (a)    Where the publication was made;

       (b)    The date of the publication;

       (c)    The original author of the publication; and

       (d)    Media format of the publication.

RESPONSE:




Identify any statements by You, including, but not limited to statements made at a press
conference, interview, press release, speech, podcast, or public appearance, concerning Konnech,
Eugene Yu, Konnech Data, Hotel Room Data, Konnech Computers, this Lawsuit, the Tiger
Project, and/or Ripcord. Include in Your answer a description, in detail, of the following:

       (a)    Date of the statement;

       (b)    Where the statement was made;

       (c)    A description of each such statement; and

       (d)    Whether there are any presentation materials, notes, outlines, scripts, video
              recordings, and/or audio recordings concerning such statement.

RESPONSE:


                                               15
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 55 of 115 PageID #: 88




Identify and describe the “Tiger Project,” including but not limited to the following:

       (a)     The meaning of the phrase “Tiger Project”;

       (b)     The meaning of the phrase “Tiger Droppings”;

       (c)     A description of all “Tiger Droppings” that resulted from the “Tiger Project”;

       (d)     The date on which the “Tiger Project” commenced;

       (e)     The subject and/or targets of the “Tiger Project”;

       (f)     The identity of all people and organizations involved in the “Tiger Project”;

       (g)     The identity of all people and organizations who provided You with “Tiger
               Droppings” or any information regarding Konnech following the Pit; and

       (h)     The purpose of the “Tiger Project.”

RESPONSE:




Identify and describe Your involvement with the Los Angeles County District Attorney’s Office’s
investigation into Konnech and/or Eugene Yu, including but not limited to the following:

       (a)     When You first Communicated with anyone connected with the Los Angeles
               County District Attorneys’ Office concerning or relating to Konnech and/or Eugene
               Yu;

       (b)     How many times You Communicated with anyone connected with the Los Angeles
               County District Attorneys’ Office concerning or relating to Konnech and/or Eugene
               Yu;

       (c)     Who you communicated with (including name, position with the county, address
               and telephone of each such person);

       (d)     The date and location of each such Communication identified in response to (c);

       (e)     A description of any Documents You provided to anyone connected with the Los
               Angeles County District Attorneys’ Office concerning or relating to Konnech
               and/or Eugene Yu



                                                16
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 56 of 115 PageID #: 89




       (f)     Whether You provided sworn testimony concerning or relating to Konnech and/or
               Eugene Yu in connection with the Los Angeles County District Attorney’s Office’s
               investigation into Konnech and/or Eugene Yu; and

       (g)     The date and location of each instance You provided testimony in response to (f).

RESPONSE:




Identify all fund-raising events that You have been involved with since August 2022, including
The Pit, which concerned or related to Konnech and/or Eugene Yu.

RESPONSE:




Identify the total amount of money paid by True the Vote, Inc. to You, OPSEC Group, LLC,
CoverMe, Taylor Phillips, Mike Hasson, @The_Authority, @KanekoaTheGreat, Dinesh D’Souza
and/or any other person or entity with which You are affiliated since January 1, 2020.

RESPONSE:




Identify every fact supporting in whole or in part each of the affirmative defenses identified in
Your Answer.

RESPONSE:




Identify and describe all lawsuits in which You are currently or have been a party within the past
ten (10) years.

RESPONSE:




                                               17
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 57 of 115 PageID #: 90




Identify each person (by name, address and telephone number) whom You expect to call to testify
at trial pursuant to Rule 26 of the Federal Rules of Civil Procedure.

RESPONSE:




Identify each person(s) answering, supplying information, or in any way assisting with the
preparation of the answers to these interrogatories.

RESPONSE:




             PLAINTIFF’S FIRST SET OF REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION 1:

All video, audio and/or transcripts, and photographs of The Pit.

RESPONSE:


REQUEST FOR PRODUCTION 2:

All video, audio and/or transcripts of The Pit by RSBN, including the “Exclusive” video coverage.

RESPONSE:


REQUEST FOR PRODUCTION 3:

Any and all Communications with the RSBN regarding The Pit, Konnech, Eugene Yu, Konnech
Computer, Konnech Data, Hotel Room Data, and/or this Lawsuit.

RESPONSE:


REQUEST FOR PRODUCTION 4:

All Documents and Communications with RSBN regarding the planned release of RSBN’s
“Exclusive” video coverage of The Pit.


                                                18
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 58 of 115 PageID #: 91




RESPONSE:


REQUEST FOR PRODUCTION 5:

Any and all agreements, contracts, memorandums of understanding or otherwise between any of
the Defendants and RSBN concerning The Pit.

RESPONSE:


REQUEST FOR PRODUCTION 6:

Any and all non-disclosure agreements with any media organization concerning Konnech, Eugene
Yu, Konnech Data, Hotel Room Data, Konnech Computers, this Lawsuit, the Tiger Project, and/or
Ripcord.

RESPONSE:


REQUEST FOR PRODUCTION 7:

Any and all Communications with RSBN regarding any request by any of the Defendants that
RSBN not record, stream, or air any portion of The Pit.

RESPONSE:


REQUEST FOR PRODUCTION 8:

Any and all Communications with RSBN regarding any request by any of the Defendants that
RSBN delete or destroy and portion of any recording of The Pit.

RESPONSE:


REQUEST FOR PRODUCTION 9:

Any and all Documents and Communications concerning the sale or attempted sale of media rights,
production rights, filmmaking rights, story rights, and/or any other agreement to create, produce,
film, publish, direct, or otherwise participate in any film, movie, documentary, book, or narrative
concerning The Pit, Konnech, Eugene Yu, Konnech’s Computers, Konnech’s Data, the Tiger
Project, and/or Ripcord.

RESPONSE:




                                                19
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 59 of 115 PageID #: 92




REQUEST FOR PRODUCTION 10:

Any and all Communications with Dinesh D’Souza concerning the sale or attempted sale of media
rights, production rights, filmmaking rights, story rights, and/or any other agreement to create,
produce, film, publish, direct, or otherwise participate in any film, movie, documentary, book, or
narrative concerning Konnech, Eugene Yu, Konnech’s Computers, Konnech’s Data, the Tiger
Project, and/or Ripcord.

RESPONSE:


REQUEST FOR PRODUCTION 11:

Any and all lists of invitees, registrants, attendees, speakers, vendors, and/or advertisers in
connection with The Pit, including drafts of same.

RESPONSE:



REQUEST FOR PRODUCTION 12:

Any and all Documents and communications regarding any investigation You performed and/or
on which You relied on concerning the following statements previously made by any of the
Defendants:

       (a)     That Konnech is a “Red Chinese communist op”;

       (b)     That Konnech and its employees are “Chinese operatives”;

       (c)     That Konnech’s software “apps were running form China, the database is running
               in China. It’s on the Chinese internet, meaning the Chinese own it,” as stated during
               the August 30 2022 podcast titled “Here’s How They’ll Try to Steal the Midterms”;

       (d)     That Konnech is affiliated with the Chinese Communist Party;

       (e)     That Konnech is affiliated with the Confucius Institute;

       (f)     That Konnech is involved in election fraud;

       (g)     That Konnech engaged in bribery in connection with a purported Detroit contract;

       (h)     That Konnech stores poll worker data on servers in China;

       (i)     That You accessed and/or have seen Konnech data related to Allegheny, PA; and

       (j)     That Konnech stores any ballot data on servers in China.




                                                20
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 60 of 115 PageID #: 93




RESPONSE:



REQUEST FOR PRODUCTION 13:

Any and all Documents concerning the factual basis, if any, supporting the following statements
previously made by any of the Defendants:

       (a)    That Konnech is a “Red Chinese communist op”;

       (b)    That Konnech and its employees are “Chinese operatives”;

       (c)    That Konnech’s software “apps were running form China, the database is running
              in China. It’s on the Chinese internet, meaning the Chinese own it,” as stated during
              the August 30 2022 podcast titled “Here’s How They’ll Try to Steal the Midterms”;

       (d)    That Konnech is affiliated with the Chinese Communist Party;

       (e)    That Konnech is affiliated with the Confucius Institute;

       (f)    That Konnech is involved in election fraud; and

       (g)    That Konnech engaged in bribery in connection with a purported Detroit contract;

       (h)    That Konnech stores poll worker data on servers in China;

       (i)    That You accessed and/or have seen Konnech data related to Allegheny, PA; and

       (j)    That Konnech stores any ballot data on servers in China.

RESPONSE:



REQUEST FOR PRODUCTION 14:

Any and all Documents and Communications to support the position in Your affidavit attached in
support of Defendants’ Submission of Evidence in Furtherance of Request to Purge Finding of
Contempt, that “the computer in question may not have been actually ‘owned’ by Konnech Inc.,
as that term is commonly understood.” (Doc. 46, 46-1).

RESPONSE:



REQUEST FOR PRODUCTION 15:

Any and all Documents and Communications reflecting compliance with Your sworn statement


                                               21
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 61 of 115 PageID #: 94




that You would “work confidentiality, with all diligence, expedience and in good faith with
Plaintiff and counsel for Plaintiff to answer the questions set out” in connection with the TRO and
Preliminary Injunction.

RESPONSE:


REQUEST FOR PRODUCTION 16:

The complete communication thread (including native files of all media shared in the thread)
between You and/or Engelbrecht, the purported FBI agents and any other person, which
Defendants filed in this Lawsuit as Exhibit B to Defendants’ Submission of Evidence in
Furtherance of Request to Purge Finding of Contempt (Docs. 46, 46-1).

RESPONSE:



REQUEST FOR PRODUCTION 17:

Any and all Konnech property, Konnech Data and/or Hotel Room Data in Your possession,
custody or control.

RESPONSE:



REQUEST FOR PRODUCTION 18:

Any and all video and/or pictures of Konnech’s offices, Eugene Yu’s home, Eugene Yu and any
current or former employee of Konnech.

RESPONSE:



REQUEST FOR PRODUCTION 19:

Any and all Documents and Communications with any private investigator and/or other person
retained to investigate and/or conduct surveillance of Konnech, Eugene Yu, and/or any current or
former employee of Konnech.

RESPONSE:




                                                22
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 62 of 115 PageID #: 95




REQUEST FOR PRODUCTION 20:

Any and all Konnech Data and/or Hotel Room Data in Your possession, custody or control.

RESPONSE:



REQUEST FOR PRODUCTION 21:

Any and all Documents demonstrating that You know anyone who accessed Konnech Data and/or
Hotel Room Data without express authorization by Konnech.

RESPONSE:



REQUEST FOR PRODUCTION 22:

All audit logs which reflect any access to any Konnech Computer or server in China which housed
any Konnech Data or Hotel Room Data.

RESPONSE:



REQUEST FOR PRODUCTION 23:

All connection logs which reflect any access to any Konnech Computer or server in China which
housed any Konnech Data or Hotel Room Data.

RESPONSE:



REQUEST FOR PRODUCTION 24:

All Documents reflecting that any Konnech Data or Hotel Room Data was stored, housed, located
on or otherwise available on a Mongo DB database or Mongo DB server.

RESPONSE:



REQUEST FOR PRODUCTION 25:

All Documents reflecting that any Konnech Data or Hotel Room Data was stored, housed, located
on or otherwise available on the China Unicom backbone.


                                              23
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 63 of 115 PageID #: 96




RESPONSE:



REQUEST FOR PRODUCTION 26:

All Documents and Communications reflecting how and when any Konnech Computer, Konnech
Data or Hotel Room Data was accessed, including but not limited to documents reflecting the
specific IP address(es) allegedly accessed, the contents of the data accessed, and the total amount
of data accessed.

RESPONSE:


REQUEST FOR PRODUCTION 27:

All Documents and Communications reflecting how and when the “computer”—described by
Defendants in their Motion to Dissolve Preliminary Injunction as a “computer” “not in the U.S.”
(Doc. 64, last paragraph on p. 2)—was accessed, including but not limited to documents reflecting
the specific IP address(es) allegedly accessed, the contents of the data accessed, and the total
amount of data accessed.

RESPONSE:


REQUEST FOR PRODUCTION 28:

All Documents and Communications reflecting any default and/or backend user name and/or
password for accessing any Konnech Computer and/or Konnech Data.

RESPONSE:


REQUEST FOR PRODUCTION 29:

All Documents and Communications reflecting all users of any Konnech Computer.

RESPONSE:


REQUEST FOR PRODUCTION 30:

All Documents and Communications reflecting any and all Konnech employee or staff credentials
used to access any Konnech Computer and/or Konnech Data.

RESPONSE:




                                                24
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 64 of 115 PageID #: 97




REQUEST FOR PRODUCTION 31:

Any and all Communications between You, Konnech, Eugene Yu, or any current or former
employee of Konnech.

RESPONSE:



REQUEST FOR PRODUCTION 32:

Any and all Communications between Defendants concerning or relating to Konnech, Eugene Yu,
Konnech Computer, Konnech Data and/or Hotel Room Data.

RESPONSE:



REQUEST FOR PRODUCTION 33:

All Documents and Communications concerning Konnech, Eugene Yu, Konnech Computers
Konnech Data, and/or Hotel Room Data, which the Pit “Anons” and/or “Pitsters” have “unearthed”
from the “data they received at The Pit.”

RESPONSE:



REQUEST FOR PRODUCTION 34:

Any and all Communications between You and any of the following concerning or relating to
Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel Room Data, and/or this Lawsuit:

       (a)    Mike Hasson;

       (b)    the third, unnamed person at the Hotel Meeting;

       (c)    any other person yet to be named who was present at the Hotel Meeting

       (d)    Taylor Phillips;

       (e)    OPSEC Group, LLC;

       (f)    the FBI, or any other government agency, or any agent working for the FBI or any
              other government agency;

       (g)    any advertisers at the Pit;

       (h)    the person(s) affiliated with Truth Social username @The_Authority;


                                             25
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 65 of 115 PageID #: 98




       (i)    the person(s) affiliated with Truth Social username @KanekoaTheGreat;

       (j)    the person(s) affiliated with Truth Social username @CognititveCarbon;

       (k)    the person(s) affiliated with the Truth Social username @BrianCates;

       (l)    the person(s) affiliated with the Truth Social username @blondepatriot1776;

       (m)    person(s) affiliated with the Truth Social username @GusQuixote;

       (n)    Jeffrey Pederson;

       (o)    Shannon Townsend;

       (p)    Trevor Fitzgibbon;

       (q)    Dinesh D’Souza

       (r)    Eric Neff;

       (s)    Andrew Stevens;

       (t)    Marc Beaart;

       (u)    Grant Bradley; and

       (v)    Any other person.

RESPONSE:



REQUEST FOR PRODUCTION 35:

Your cell phone records reflecting all communications with anyone present at the Hotel Meeting
since January 2020.

RESPONSE:



REQUEST FOR PRODUCTION 36:

Any and all Communications with anyone present at the Hotel Meeting since January 2020.

RESPONSE:




                                             26
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 66 of 115 PageID #: 99




REQUEST FOR PRODUCTION 37:

Any and all Communications between You and the FBI or any federal agency or any agent working
for the FBI or federal agency concerning or relating to Your purported role as a confidential
informant, including, but not limited to, any agreements between You, or any offer or actual
payment of money.

RESPONSE:



REQUEST FOR PRODUCTION 38:

Any confidential informant agreement or other agreement between You and any governmental
entity and/or agency, including but not limited to the FBI or NSA, in effect at any time between
January 1, 2020 and the present.

RESPONSE:



REQUEST FOR PRODUCTION 39:

All FD-302 Forms concerning an FBI report or summary of an interview You provided to the FBI
concerning or relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel Room
Data, and/or this Lawsuit.

RESPONSE:



REQUEST FOR PRODUCTION 40:

Any sworn statements that You provided to the FBI or any other governmental entity or agency
concerning or relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel Room
Data, and/or this Lawsuit.

RESPONSE:



REQUEST FOR PRODUCTION 41:

Any and all Communications with the Arizona Attorney General concerning or relating to You
claiming to be an FBI confidential informant in the last five (5) years.

RESPONSE:



                                              27
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 67 of 115 PageID #: 100




 REQUEST FOR PRODUCTION 42:

 Any and all Communications between You and any person affiliated with any law enforcement
 agency concerning or relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel
 Room Data, and/or this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 43:

 Any and all Communications between You and any government agency, municipality and/or
 county concerning or relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel
 Room Data, and/or this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 44:

 Any and all Communications between You and anyone who was invited to and/or attended the
 The Pit concerning or relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel
 Room Data, and/or this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 45:

 Any and all photographs or video recordings taken by You or anyone else at the Hotel Meeting.

 RESPONSE:



 REQUEST FOR PRODUCTION 46:

 Any receipts and/or requests for reimbursement of expenses concerning the Hotel Meeting, hotel
 accommodations related thereto, and for transportation.

 RESPONSE:




                                               28
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 68 of 115 PageID #: 101




 REQUEST FOR PRODUCTION 47:

 All Documents and Communications reflecting any investigation of You by the FBI.

 RESPONSE:



 REQUEST FOR PRODUCTION 48:

 Any and all advertisements for The Pit.

 RESPONSE:



 REQUEST FOR PRODUCTION 49:

 Any and all advertisements for the Fake Pit.

 RESPONSE:



 REQUEST FOR PRODUCTION 50:

 Any and all advertisements for products or services offered for sale at or in connection with The
 Pit.

 RESPONSE:



 REQUEST FOR PRODUCTION 51:

 Any and all demonstratives, speeches, presentations, including PowerPoint presentations and
 outlines of presentations, including drafts of same, concerning The Pit.

 RESPONSE:



 REQUEST FOR PRODUCTION 52:

 Any and all Documents and Communications concerning or relating to The Pit.

 RESPONSE:




                                                29
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 69 of 115 PageID #: 102




 REQUEST FOR PRODUCTION 53:

 Any notes, journal entries, diaries, calendars, or Documents otherwise prepared in preparation for,
 during, or after The Pit concerning The Pit.

 RESPONSE:



 REQUEST FOR PRODUCTION 54:

 Documents sufficient to show all payments received by You in connection with The Pit.

 RESPONSE:



 REQUEST FOR PRODUCTION 55:

 All Documents and Communications, including but not limited to video or audio recordings, and
 summaries and/or excerpts of same, concerning statements made by You at The Pit.

 RESPONSE:



 REQUEST FOR PRODUCTION 56:

 All Documents and Communications concerning statements, including summaries and/or excerpts
 of same, made at The Pit concerning or relating to Konnech, Eugene Yu, Konnech Computer,
 Konnech Data, and/or Hotel Room Data.

 RESPONSE:



 REQUEST FOR PRODUCTION 57:

 All Documents and Communications concerning The Pit after the conclusion of The Pit.

 RESPONSE:



 REQUEST FOR PRODUCTION 58:

 Any user agreement and/or membership agreement under which You used BinaryEdge software
 from January 1, 2021 to the present date.



                                                 30
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 70 of 115 PageID #: 103




 RESPONSE:



 REQUEST FOR PRODUCTION 59:

 Your resume from January 2021 to the present date.

 RESPONSE:



 REQUEST FOR PRODUCTION 60:

 Any press releases by You concerning or relating to Konnech, Eugene Yu, Konnech Computer,
 Konnech Data, Hotel Room Data, and/or this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 61:

 Any Documents and Communications concerning statements by You made at a press conference,
 interview, rally, demonstration, fund raiser, speech, podcast or public appearance or provided to
 the media concerning or relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data,
 Hotel Room Data, and/or this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 62:

 Any video, audio and/or transcripts of any interviews, press conferences, rallies, demonstrations,
 speeches, fund raisers, podcasts, or public appearances at which any statements concerning or
 relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel Room Data, and/or
 this Lawsuit were made and during which You appeared.

 RESPONSE:



 REQUEST FOR PRODUCTION 63:

 Any video, audio and/or transcripts of Your appearance on the following shows and/or podcasts:

        (a)     the December 15, 2022 Rick & Bubba show;



                                                31
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 71 of 115 PageID #: 104




        (b)    the August 15, 2022 podcast titled “Devolution Power Hour – Gregg Phillips
               Interview”;

        (c)    the August 23, 2022 “Prophets and Patriots” podcast;

        (d)    the August 30, 2022 podcast titled “Here’s How They’ll Try to Steal the Midterms”;

        (e)     the September 2, 2022 “Patriot Games” podcast;

        (f)    the August 31, 2022 podcast titled “(Allegedly) Stealing the Chinese Internet w/
               Gregg Phillips of 2000 Mules”;

        (g)    the podcast Patriot Games, Episode 6 titled “Game Changer”;

        (h)    the August 31, 2022 podcast called “Alabama Unfiltered”; and

        (i)    the September 5, 2022 True the Vote podcast hosted on Locals.

 RESPONSE:



 REQUEST FOR PRODUCTION 64:

 Any video, audio and/or transcripts of Catherine Engelbrecht’s appearance on the August 19, 2022
 podcast hosted by Mary Grace.

 RESPONSE:



 REQUEST FOR PRODUCTION 65:

 Any notes, outlines, talking points or demonstrative aids for any interviews, press conferences,
 rallies, demonstrations, speeches, fund raisers, podcasts, or public appearances attended by You
 that concern or relate to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel Room
 Data, and/or this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 66:

 Any and all Documents regarding any investigation You performed concerning the statements
 posted on Your Social Media concerning or related to Konnech, Eugene Yu, Konnech Computer,
 Konnech Data, Hotel Room Data, and/or this Lawsuit.

 RESPONSE:


                                               32
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 72 of 115 PageID #: 105




 REQUEST FOR PRODUCTION 67:

 Any and all Documents and Communications concerning or relating to the “Ripcord,” as that term
 was used by You during testimony in this Lawsuit on October 27, 2022.

 RESPONSE:



 REQUEST FOR PRODUCTION 68:

 Any and all Documents and Communications concerning or relating to the “Tiger Project.”

 RESPONSE:



 REQUEST FOR PRODUCTION 69:

 Any and all Documents concerning or relating to Konnech, Eugene Yu, Konnech Computer,
 Konnech Data, Hotel Room Data, and/or this Lawsuit which have been disseminated by or through
 the Open.Ink website or uploaded or will be uploaded to the Open.Ink website.

 RESPONSE:



 REQUEST FOR PRODUCTION 70:

 Any and all statements, comments, or other communications by any financial donor, supporter or
 contributor to True the Vote or any person or entity with which True the Vote is affiliated, which
 refers or relates to Konnech, Eugene Yu, or this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 71:

 Any and all Documents and Communications regarding any request or plea for donations or
 contributions to any of the Defendants since January 2020, including but not limited to any Social
 Media post, GoFundMe page, or video or podcast recording.

 RESPONSE:




                                                33
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 73 of 115 PageID #: 106




 REQUEST FOR PRODUCTION 72:

 Any and all Documents reflecting all advertisements of any products and/or merchandise offered
 for sale at or in connection with Your detention for contempt in this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 73:

 Any and all Documents regarding donations You or any person or entity with which you are
 affiliated received in connection with Your detention for contempt in this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 74:

 Any and all Documents regarding any statements or videos posted on Your Social Media accounts
 concerning or relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel Room
 Data, and/or this Lawsuit, including, but not limited to, drafts of the statements or videos, any
 comments on the statements or videos, any response to the comments on the statements or videos,
 and any republications of the statements or videos by the media.

 RESPONSE:



 REQUEST FOR PRODUCTION 75:

 Any and all Documents sufficient to show each Defendants’ net worth from January 1, 2018 to the
 present date.

 RESPONSE:



 REQUEST FOR PRODUCTION 76:

 Any and all Documents sufficient to show each Defendants’ audited or unaudited financial balance
 sheets from January 1, 2018 to the present date.

 RESPONSE:




                                                34
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 74 of 115 PageID #: 107




 REQUEST FOR PRODUCTION 77:

 Any and all Documents sufficient to show each Defendants’ audited or unaudited income
 statements from January 1, 2018 to the present date.

 RESPONSE:



 REQUEST FOR PRODUCTION 78:

 Any and all Documents sufficient to show each Defendants’ state and federal tax returns and
 schedules thereto from January 1, 2018 to the present date.

 RESPONSE:



 REQUEST FOR PRODUCTION 79:

 All of Your IRS Form 1099’s, K-1’s and W-2s from January 1, 2018 to the present date.

 RESPONSE:



 REQUEST FOR PRODUCTION 80:

 All Documents reflecting all money paid to You by True the Vote, Inc. from January 1, 2018 to
 the present date.

 RESPONSE:



 REQUEST FOR PRODUCTION 81:

 All Documents reflecting all money paid to Engelbrecht by True the Vote, Inc. from January 1,
 2018 to the present date.

 RESPONSE:



 REQUEST FOR PRODUCTION 82:

 All Documents reflecting all money paid to OPSEC Group, LLC by True the Vote, Inc. from
 January 1, 2018 to the present date.



                                              35
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 75 of 115 PageID #: 108




 RESPONSE:



 REQUEST FOR PRODUCTION 83:

 All Documents reflecting all money paid to You in connection with 2000 Mules.

 RESPONSE:



 REQUEST FOR PRODUCTION 84:

 Any and all Documents regarding payments, contributions, and/or donations You or any person or
 entity with which you are affiliated received in connection with, concerning or relating to Konnech,
 Eugene Yu, Konnech Computers, Konnech Data, Hotel Room Data, and/or this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 85:

 All Documents reflecting all money paid by You and/or any of the Defendants to the person(s)
 affiliated with the following Truth Social usernames from January 1, 2018 to the present date:

        (a)     @TheAuthority;

        (b)     @KanekoaTheGreat;

        (c)     @BrianCates;

        (d)     @GusQuixote; and

        (e)     @blondepatriot1776.

 RESPONSE:



 REQUEST FOR PRODUCTION 86:

 Any and all statements, whether tape recorded, video recorded, written, or otherwise transcribed
 or preserved, made at any time by You concerning or relating to Konnech, Eugene Yu, Konnech
 Computer, Konnech Data, Hotel Room Data, and/or this Lawsuit.

 RESPONSE:



                                                 36
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 76 of 115 PageID #: 109




 REQUEST FOR PRODUCTION 87:

 Any and all Documents containing facts supporting in whole or in part each of the affirmative
 defenses asserted in Defendants’ First Amended Answer.

 RESPONSE:



 REQUEST FOR PRODUCTION 88:

 Any sworn testimony by You, whether in deposition, in Court, or anywhere else within the last
 five (5) years.

 RESPONSE:



 REQUEST FOR PRODUCTION 89:

 All public records requests each of the Defendants submitted to any state, county or municipality
 seeking documents concerning or relating to Konnech, and the records produced in response to
 same.

 RESPONSE:



 REQUEST FOR PRODUCTION 90:

 All Documents and Communications concerning or relating to any whistleblower claims You
 made or attempted to make concerning or relating to Konnech, Eugene Yu, Konnech Computer,
 Konnech Data, Hotel Room Data, and/or this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 91:

 All Documents and Communications concerning or relating to any criminal complaint, police
 report, or other claim You made to any law enforcement agency concerning or relating to Konnech,
 Eugene Yu, Konnech Computer, Konnech Data, Hotel Room Data, and/or this Lawsuit.

 RESPONSE:




                                                37
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 77 of 115 PageID #: 110




 REQUEST FOR PRODUCTION 92:

 All video and/or audio recordings taken in Judge Kenneth Hoyt’s courtroom on October 27, 2022
 and/or October 31, 2022.

 RESPONSE:



 REQUEST FOR PRODUCTION 93:

 All Documents and Communications concerning the press conference which You claim to have
 planned to attend on October 31, 2022, but did not allegedly due to Your detention for contempt
 in this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 94:

 All Documents and Communications reflecting all URLs and/or domain names claimed by,
 owned, and/or controlled by You.

 RESPONSE:



 REQUEST FOR PRODUCTION 95:

 Any video, audio or transcripts of any interviews of Trevor Fitzgibbon related to Konnech, Eugene
 Yu, and/or this Lawsuit, including but not limited to the interview conducted by Ivory Hecker.

 RESPONSE:




                                                38
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 78 of 115 PageID #: 111




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

  KONNECH, INC.,                                   §
                                                   §
                 PLAINTIFF,                        §
                                                   §
  v.                                               §    CIVIL ACTION NO. 4:22-CV-03096
                                                   §
  TRUE THE VOTE, INC., GREGG                       §
  PHILLIPS, and CATHERINE                          §
  ENGELBRECHT,                                     §
                                                   §
                 DEFENDANTS.                       §
                                                   §


                          PLAINTIFF KONNECH, INC’S
       FIRST SET OF INTERROGATORIES AND REQUESTS FOR PRODUCTION TO
                        DEFENDANT TRUE THE VOTE, INC.

 To:     Defendant True the Vote, Inc., by and through its attorneys of record, Michael J. Wynne,
         Gregor Wynne Arney, PLLC, 909 Fannin Street, Suite 3800, Houston, Texas 77010.

         Pursuant to Rules 26, 33, and 34 of the Federal Rules of Civil Procedure, Plaintiff Konnech,

 Inc. (“Plaintiff” or “Konnech”) hereby propounds these first set of Interrogatories and Requests

 for Production (collectively, the “Requests”) on Defendant True the Vote, Inc. (“Defendant” or

 “True the Vote”). Plaintiff requests that Defendant respond in writing and produce the requested

 documents within thirty (30) days in accordance with the Federal Rules of Civil Procedure and the

 Definitions and Instructions provided in this Request.       Defendant should serve the written

 responses and responsive documents and things in its possession, custody, or control upon the

 undersigned counsel. Plaintiff also requests that Defendant continue to supplement its document

 production and answers to these requests in accordance with the Federal Rules of Civil Procedure.
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 79 of 115 PageID #: 112




                                                    Respectfully submitted,

                                                    KASOWITZ BENSON TORRES LLP



                                                    By: /s/ Constantine Z. Pamphilis
                                                        Constantine Z. Pamphilis
                                                        Attorney in Charge
                                                        Texas State Bar No. 00794419
                                                        SDTX Bar No. 19378
                                                        DPamphilis@kasowitz.com
                                                        Nathan W. Richardson
                                                        Texas State Bar No. 24094914
                                                        SDTX Bar No. 24094914
                                                        NRichardson@kasowitz.com
                                                        1415 Louisiana Street, Suite 2100
                                                        Houston, Texas 77002
                                                        (713) 220-8800
                                                        (713) 222-0843 (fax)

                                                    Attorneys for Plaintiff Konnech, Inc.




                                CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing has been served on all counsel of
 record pursuant to the Federal Rules of Civil Procedure and the agreement of counsel dated
 February 24, 2023 regarding e-mail service, on this the 24th day of February, 2023.



                                                      /s/ Nathan W. Richardson
                                                      Nathan W. Richardson




                                                2
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 80 of 115 PageID #: 113




                                      I.      DEFINITIONS

    1. “You,” “Your,” or “Defendant” refer to Defendant True the Vote, Inc. and all of its agents,
       employees, representatives and all persons and entities acting and purporting to act on its
       behalf.

    2. “Defendants” refers to True the Vote, Inc., Gregg Phillips, and Catherine Engelbrecht and
       all of their agents, employees, representatives and all persons and entities acting and
       purporting to act on their behalf.

    3. “Plaintiff” or “Konnech” refers to Konnech, Inc. and all of its agents, employees,
       representatives and all persons and entities acting or purporting to act on its behalf.

    4. “Lawsuit” means the above-captioned action.

    5. “Complaint” means the Plaintiff’s First Amended Complaint filed in the Lawsuit.

    6. “Catherine” or “Engelbrecht” means Catherine Engelbrecht.

    7. “Gregg” or “Phillips” means Gregg Phillips.

    8. “Mike Hasson” means Mike Hasson, the person identified by Phillips at the October 27,
       2022 hearing as one of the people present at the Hotel Meeting (defined below).

    9. “OPSEC Group LLC” means OPSEC Group LLC, and all of its agents, employees,
       representatives and all persons and entities acting and purporting to act on its behalf.

    10. “RSBN” means Right Side Broadcasting Network, LLC and all of its agents, employees,
        representatives and all persons and entities acting and purporting to act on its behalf.

    11. “The Pit” means the August 13, 2022 event in Arizona called “The Pit.”

    12. “The Fake Pit” means the event scheduled for and/or held on July 15, 2022, and advertised
        as “The Pit.”

    13. “Konnech Computer” means any electronic, magnetic, optical, electrochemical, or other
        high speed data processing device performing logical, arithmetic, or storage functions, and
        includes any data storage facility or communications facility directly related to or operating
        in conjunction with such device, that is owned or otherwise controlled by Konnech.

    14. “Konnech Data” means any information that is owned, possessed, or controlled by
        Konnech, including but not limited to any electronic information stored on, transferred
        through, or otherwise accessible by a Konnech Computer.

    15. “Hotel Room Data” means the data and information that Defendants claim Gregg Phillips
        viewed during the Hotel Meeting (defined below), regardless of whether or not such data
        or information is believed by Defendants to be owned, possessed, or controlled by
        Konnech.



                                                  3
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 81 of 115 PageID #: 114




    16. “Ripcord” shall have the meaning as used by Defendants at the October 27, 2022 hearing
        in this Lawsuit.

    17. “TRO” means the Temporary Restraining Order issued on September 12, 2022 in this
        Lawsuit.

    18. “Preliminary Injunction” means the Preliminary Injunction issued on November 3, 2022 in
        this Lawsuit.

    19. “Hotel Meeting” refers to the January 2021 meeting in Dallas, Texas between Gregg
       Phillips, Mike Hasson, and at least one other unidentified individual, during which Gregg
       Phillips has testified that Mike Hasson showed him data allegedly on a Chinese server that
       appeared to belong to Konnech.

    20. “Social Media” refers to Truth Social, Facebook, Twitter, Instagram, LinkedIn, TikTok,
       Pinterest, YouTube, Reddit, Snapchat, Rumble, Substack, Tumblr, and Locals any other
       online interactive technologies that facilitate the creation and sharing of ideas, thoughts,
       information and other forms of expression through virtual networks and communities.

    21. “FBI” means the Federal Bureau of Investigation.

    22. “NSA” means the National Security Agency.

    23. “Communication” or “Communications” means all exchanges of information, regardless
        of form, including, without limitation, all conversations, discussions, inquiries,
        correspondence, notes (handwritten or otherwise), message slips, logs, emails (or other
        similar electronic communications, text messages, instant messages, or other such
        transmittals of information, including but not limited to any encrypted messaging
        application such as Variety, Signal, Wickr, Ding Talk, Telegram or WhatsApp. The terms
        “Communication” and “Communications” includes internal and external communications.

    24. “Electronically Stored Information” is defined broadly to give the full scope of that term
        as contemplated under the Federal Rules of Civil Procedure, and refers to all computer or
        electronically stored or generated data and information, and shall include all attachments
        to and enclosures with any requested item, and all drafts thereof. Electronically Stored
        Information includes information stored in any format and on any storage media, including
        but not limited to: hard disks; floppy disks; optical disks; flash memory devices; and
        magnetic tape, whether fixed, portable, or removable. Electronically Stored Information
        also includes: word-processing documents; electronic spreadsheets; electronic presentation
        documents; e-mail messages; image files; sound files; and material or information stored
        in a database, or accessible from a database. Electronically Stored Information also
        includes all associated metadata that is maintained or saved, which includes: document
        title or name; file name; date and time of creation; date and time of last edit; identity of
        author; identity of owner; identities of editors; identities of recipients; changes; history of
        changes; e-mail header information; history of who viewed an e-mail and when; and e-mail
        routing information. Electronically Stored Information further includes: correspondence;
        telegrams; memoranda; Communications; minutes or records of meetings and conferences;
        lists of persons attending meetings or conferences; summaries; records of conversations;


                                                  4
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 82 of 115 PageID #: 115




       drafts; notes; notebooks; logs; invention records and disclosures; translations; drawings;
       graphs; charts; photographs; sound recordings; images data compilations; computer
       records or printouts; specifications; reports; opinions; summaries; agreements; forecasts;
       plan drawings; mask works; engineering drawings; expressions or statements of policy;
       consultations; brochures; pamphlets; advertisements; publications; circulars; trade letters;
       press releases; and drafts of any of the foregoing.

    25. “Electronically Stored Information” is defined broadly to give the full scope of that term
        as contemplated under the Federal Rules of Civil Procedure, and refers to all computer or
        electronically stored or generated data and information, and shall include all attachments
        to and enclosures with any requested item, and all drafts thereof. Electronically Stored
        Information includes information stored in any format and on any storage media, including
        but not limited to: hard disks; floppy disks; optical disks; flash memory devices; and
        magnetic tape, whether fixed, portable, or removable. Electronically Stored Information
        also includes: word-processing documents; electronic spreadsheets; electronic presentation
        documents; e-mail messages; image files; sound files; and material or information stored
        in a database, or accessible from a database. Electronically Stored Information also
        includes all associated metadata that is maintained or saved, which includes: document
        title or name; file name; date and time of creation; date and time of last edit; identity of
        author; identity of owner; identities of editors; identities of recipients; changes; history of
        changes; e-mail header information; history of who viewed an e-mail and when; and e-mail
        routing information. Electronically Stored Information further includes: correspondence;
        telegrams; memoranda; Communications; minutes or records of meetings and conferences;
        lists of persons attending meetings or conferences; summaries; records of conversations;
        drafts; notes; notebooks; logs; invention records and disclosures; translations; drawings;
        graphs; charts; photographs; sound recordings; images data compilations; computer
        records or printouts; specifications; reports; opinions; summaries; agreements; forecasts;
        plan drawings; mask works; engineering drawings; expressions or statements of policy;
        consultations; brochures; pamphlets; advertisements; publications; circulars; trade letters;
        press releases; and drafts of any of the foregoing.

    26. The singular form of a word shall be construed to include the plural, and the plural form of
        a word shall include the singular, so as to bring within the scope of these requests for
        production any information that might otherwise be considered to be beyond their scope.

    27. “And” and “or” shall be construed either conjunctively or disjunctively as required by the
        context.

    28. “Any” and “all” shall be construed as “any and all,” and the term “each” shall be construed
        as “all and each.”

    29. The terms “relating to,” “concerning,” and “reflecting” (or any form thereof) shall mean
        constituting, comprising, respecting, supporting, contradicting, stating, describing,
        recording, noting, embodying, containing, mentioning, studying, analyzing, discussing,
        evaluating, or relevant to.




                                                  5
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 83 of 115 PageID #: 116




    30. The term “including” shall mean “including without limitation” or “including but not
        limited to” the referenced items or information. The use of “including” in describing
        categories of documents should not be read to narrow any request.

    31. The terms “identify” or “identity,” unless otherwise defined in an interrogatory shall
        require you to provide:

            (a) With respect to a NATURAL PERSON, the full name, present title, present
                business and resident address (last known if present addresses are unknown), and
                business and residence telephone numbers, and the title of the last position held;

            (b) With respect to a CORPORATION, PARTNERSHIP, ASSOCIATION OR
                OTHER LEGAL ENTITY, its name, address, and legal form (e.g. corporation,
                partnership, etc.);

            (c) With respect to a DOCUMENT, its title, number, date, authors, signers, subject
                matter, addressee(s), addressor(s), or other designation, including, but not limited
                to, subject matter or general nature, person(s) receiving copies of such document,
                present location and custodian;

            (d) With respect to an ORAL STATEMENT OR COMMUNICATION, the maker, the
                recipients, when made, where made, persons present when made, mode of
                communication and subject matter;

            (e) With respect to an ACT, ACTION, OR ACTIVITY, its description, the identity of
                the person(s) participating in the act or activity, the date or approximate date on
                which the act or activity was committed, and the identities of any person(s)
                observing the act or participating in the activity;

            (f) With respect to a MEETING, the identities of the persons attending the meeting,
                the date of the meeting, the subject matter of the meeting, and the place of the
                meeting; and

            (g) With respect to a STATEMENT, the person(s) making the statement, any person(s)
                present at the time the statement was made, the approximate date of such statement,
                the subject matter of the statement, and, if possible, the exact words used.

                                    II.     INSTRUCTIONS

          In addition to the requirements set forth in the Federal Rules of Civil Procedure, which
  Plaintiff incorporates herein, the following instructions apply to each of the discovery requests
  set forth below, and are deemed to be incorporated in each individual Request:

    1. The Documents covered by these Requests include all Documents in Your possession,
       custody or control.




                                                 6
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 84 of 115 PageID #: 117




       2. These discovery requests are continuing in nature and require supplementation or
          amendment to include information subsequently acquired or as required by the Federal
          Rules of Civil Procedure.

       3. If for any reason You are unable to respond to any request set forth herein, explain in detail
          Your inability to respond. If for any reason You are unable to respond to a part of any
          request but able to answer other parts of the request, respond to as much of the request as
          You can and explain in detail Your inability to respond to the remainder of the request.

       4. If You contend that any of the information requested herein is protected or privileged, so
          state and set forth the protection or privilege claimed, the facts upon which You rely to
          support the claim of protection or privilege, and the scope of said protection or privilege,
          but proceed to disclose or produce all requested information for which protection or
          privilege is not claimed. With respect to each requested Document that is being withheld,
          You are hereby requested to furnish a privilege log identifying the basis for the claim of
          privilege or protection and a description of the Document, including:

            (a)     the title of the Document and the nature and subject matter of its contents;

            (b)     the date the Document was prepared or any date appearing on the Document;

            (c)     the number of the Document’s pages, attachments and appendices; the names of
                    the persons who authored or prepared the Document, and an identification by
                    employment and title of each such person, and if the person is an attorney, a
                    statement so saying;

            (d)     the names of each person to whom the Document, or a copy thereof, was sent,
                    shown or made accessible, or to whom it was explained, together with an
                    identification of each such person and entity with which they are employed or
                    associated, and if the person is an attorney, a statement so saying;

            (e)     the number of each paragraph of these Document Requests to which the
                    Document relates;

            (f)     the portion(s) of the Document as to which privilege is claimed; and

            (g)     the type of privilege asserted.

  5.        Counsel for Plaintiff is willing to discuss with You or Your counsel any questions
            regarding perceived ambiguities in, or claims regarding the burdens involved in or
            compliance with the discovery requested herein in an effort to resolve any such issues
            without the necessity of Court intervention. If You cannot clarify any perceived
            ambiguities by reference to the Definitions, contact counsel for Plaintiff for
            clarification.

  6.        You shall produce all documents in the manner in which they are maintained in the
            usual course of Your business and/or You shall organize and label the documents to
            correspond with the categories in these Requests. A Request shall be deemed to include


                                                      7
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 85 of 115 PageID #: 118




        a request for any and all file folders within which the document was contained,
        transmittal sheets, cover letters, exhibits, enclosures, or attachments to the document in
        addition to the document itself.

  7.    Documents shall be produced in such fashion as to identify the file, folder, department,
        branch or office in which they were located and, where applicable, the natural person in
        whose possession it was found and the business address of each document’s
        custodian(s).

  8.    Documents attached to each other should not be separated. If any portion of any
        document is responsive to the document Requests, then the entire document must be
        produced.

  9.    Electronically Stored Information should be produced in the following format: As
        single-page TIFF images, at 300 dots-per-inch, with an iPRO LFP image load file and
        a Concordance delimited dataload file (*.DAT) with the following fields: BEGNO,
        ENDNO, BEGATTACH, ENDATTACH, PAGES, VOLUME, RECORDTYPE,
        SENTDATE, SENTONTIME, CREATEDATE, CREATETIME, LASTMODDATE,
        LASTMODTIME, RECEIVEDDATE, RECEIVEDTIME, PARENTFOLDER,
        AUTHOR, TO, CC, BCC, SUBJECT/TITLE (fields combined), ORIGSOURCE,
        CUSTODIAN, NATIVEPATH, ATTACHCOUNT, FILEEXT, FILENAME,
        FILETYPE, FILESIZE, APPLICATION, MD5HASH, and FULLTEXT. All
        spreadsheets responsive to these Requests that are maintained in the usual course of
        business in electronic format shall be produced in their native format (along with
        theTIFF images, linked using NATIVEPATH field).

  10.   Under no circumstances should Electronically Stored Information be converted from
        the form in which it is ordinarily maintained to a different form that makes it more
        difficult or burdensome to use. Electronically Stored Information should not be
        produced in a form that removes or significantly degrades the ability to search the
        Electronically Stored Information by electronic means where the Electronically Stored
        Information is ordinarily maintained in a way that makes it searchable by electronic
        means. Databases or underlying data should not be produced without first discussing
        production format issues with the Plaintiff’s counsel. If You decline to search or
        produce Electronically Stored Information on the ground that such Electronically
        Stored Information is not reasonably accessible because of undue burden or cost,
        identify such information by category or sources and provide detailed information
        concerning the burden or cost You claim is associated with the search or production
        of such Electronically Stored Information.

  11.   If You have reason to believe there are e-mails created that are responsive to these
        Requests that have not been retained, state the name and address of the e-mail provider
        (e.g., MSN, Yahoo!, Thunderbird, Gmail, Bloomberg, AOL, etc.) or program used by
        You and what efforts You have made to retrieve the requested information.

  12.   In the event that any document responsive to any Request was, but is no longer, in Your
        possession, custody or control, or has been lost, destroyed, discarded or otherwise


                                                8
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 86 of 115 PageID #: 119




        disposed of, You shall provide sufficient information to identify the document as
        completely as possible and state, in writing, the details and circumstances surrounding
        the disposal of the document.




                                               9
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 87 of 115 PageID #: 120




                  PLAINTIFF’S FIRST SET OF INTERROGATORIES



 Identify each person (by name, address and telephone number) who was present at the Hotel
 Meeting, and the following:

       (a)    All Communications You have had with that person since January 1, 2021, as well
              as any Communications you had with that person prior to January 1, 2021, but
              concerning or relating to Konnech, Konnech Data, Konnech Computers, and/or
              Hotel Room Data;

       (b)    The date of each Communication identified in response to subsection (a);

       (c)    The location of each such Communication identified in response to subsection (a);

       (d)    The means of each Communication identified in response to subsection (a);

       (e)    The purpose of each Communication identified in response to subsection (a); and

       (f)    The substance of each Communication identified in response to subsection (a),
              including whether You communicated about this Lawsuit.

 RESPONSE:




 In connection with any unauthorized access of Konnech’s Computer and/or Konnech’s Data of
 which you are aware, identify and describe:

       (a)    Each person (by name, address and telephone number) and/or entity who You know
              was involved in accessing any Konnech Computer or Konnech Data without
              express authorization by Konnech;

       (b)    How any Konnech Computer and Konnech Data has been accessed by anyone
              without express authorization by Konnech;

       (c)    Where anyone You know was located when they connected to any Konnech
              Computer or accessed any Konnech Data without the express authorization by
              Konnech;

       (d)    The size and/or quantity of Konnech Data that anyone You know has downloaded
              without the express authorization by Konnech;

       (e)    The length of time it took anyone You know to download Konnech Data without
              the express authorization by Konnech;



                                             10
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 88 of 115 PageID #: 121




        (f)    All software and hardware anyone You know used to access Konnech’s Data
               without the express authorization by Konnech; and

        (g)    All database queries run on any Konnech Computer or Konnech Data without
               express authorization by Konnech.

 RESPONSE:




 Identify each person (by name, address and telephone number) and/or entity who has had
 possession, custody or control of any Konnech Data.

 RESPONSE:




 Identify each person (by name, address and telephone number) affiliated with any law enforcement
 agency, governmental entity, municipality, county or agency of any of them, with whom You have
 discussed anything concerning or relating to Konnech, including the date of each communication
 with each person identified, and a description of each such communication.

 RESPONSE:




 Identify each person (by name, address and telephone number) who has been an employee and/or
 contractor for any of the following since January 1, 2021:

        (a)    True the Vote Inc.;

        (b)    OPSEC Group LLC;

        (c)    CoverMe; and

        (d)    Patriot Games (the podcast hosted by Phillips).

 RESPONSE:




                                               11
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 89 of 115 PageID #: 122




 Identify (by name, address and telephone number) each person who has posted from the following
 social media accounts since January 1, 2021:

        (a)     @The_Authority (Truth Social username);

        (b)     @KanekoaTheGreat (Truth Social username);

        (c)     @opsec (Truth Social username);

        (d)     @tay_phill (Truth Social username);

        (e)     @RealPatriotGames (Truth Social username);

        (f)     @GreggPhillips (Truth Social username);

        (g)     @Truethevote (Truth Social username);

        (h)     @CognitiveCarbon (Truth Social username);

        (i)     @DineshDSouza (Truth Social username);

        (j)     @mgshow (Truth Social username);

        (k)     @intheMatrixxx (Truth Social username);

        (l)     @ShadyGrooove (Truth Social username);

        (m)     @blondepatriot1776 (Truth Social username); and

        (n)     @GusQuixote (Truth Social username).

 RESPONSE:




 Identify and describe how and when Konnech’s Computer and/or Konnech’s Data was accessed
 without authorization, including but not limited to the specific IP address(es) allegedly accessed,
 the contents of the data accessed, and the total amount of data (in megabytes, gigabytes and/or
 terabytes) accessed.

 RESPONSE:




                                                 12
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 90 of 115 PageID #: 123




 Identify and describe how and when the “computer”—described by Defendants in their Motion to
 Dissolve Preliminary Injunction as a “computer” “not in the U.S.” (Doc. 64, last paragraph on p.
 2)—was accessed, including but not limited to the specific IP address(es) allegedly accessed, the
 contents of the data accessed, and the total amount of data (in megabytes, gigabytes and/or
 terabytes) accessed.

 RESPONSE:




 Identify any and all Social Media accounts claimed by or registered to You or any entity of which
 you are affiliated, including but not limited to any “burner” accounts. For each such account,
 identify the platform and Your username.

 RESPONSE:




 Describe any investigation that was conducted, concerning the statements posted on Your Social
 Media accounts concerning Konnech, Eugene Yu, Konnech Data, Hotel Room Data, Konnech
 Computers, this Lawsuit, the Tiger Project, and/or Ripcord and the factual basis to support each
 such statement. Include in Your answer a description, in detail, of the following:

        (a)    Identify each person (by name, title and employer) involved in the investigation;

        (b)    Identify the date(s) of each such investigation;

        (c)    Identify every person who You communicated with or interviewed in connection
               with the investigation; and

        (d)    Describe the results of the investigation.

 RESPONSE:




 Identify and describe all investigation that was conducted and the factual basis to support all
 statements previously made by any of the Defendants concerning Konnech, Eugene Yu, Konnech
 Data, Hotel Room Data, Konnech Computers, this Lawsuit, the Tiger Project, and/or Ripcord.
 Please include in your answer, a description in detail concerning the following statements of the
 investigation that was conducted, who conducted the investigation, when the investigation was


                                                13
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 91 of 115 PageID #: 124




 conducted and the factual basis for each statement:

        (a)     That Konnech is a “Red Chinese communist op”;

        (b)     That Konnech and its employees are “Chinese operatives”;

        (c)     That Konnech’s software “apps were running form China, the database is running
                in China. It’s on the Chinese internet, meaning the Chinese own it,” as stated during
                the August 30 2022 podcast titled “Here’s How They’ll Try to Steal the Midterms”;

        (d)     That Konnech is affiliated with the Chinese Communist Party;

        (e)     That Konnech is affiliated with the Confucius Institute;

        (f)     That Konnech is involved in election fraud;

        (g)     That Konnech engaged in bribery in connection with a purported Detroit contract;

        (h)     That Konnech stores poll worker data on servers in China;

        (i)     That any of the Defendants accessed and/or have seen Konnech data related to
                Allegheny, PA;

        (j)     That Konnech stores any ballot data on servers in China;

        (k)     That Konnech was involved in Fast Track Ballot Counting; and

        (l)     That Konnech was involved in overseas military ballots.

 RESPONSE:




 In connection with The Pit and the planning of same, identify and describe the following:

        (a)     The date that it was first planned;

        (b)     Who organized The Pit;

        (c)     The purpose of The Pit;

        (d)     All speakers (name, address and telephone number) at The Pit;

        (e)     All persons invited to The Pit; and

        (f)     All attendees (name, address and telephone number) to The Pit.




                                                  14
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 92 of 115 PageID #: 125




 RESPONSE:




 Identify each and every donor who has contributed, donated, or otherwise made any payment of
 money to You or any company of which you are affiliated concerning Konnech, Eugene Yu,
 Konnech Data, Hotel Room Data, Konnech Computers, this Lawsuit, the Tiger Project, and/or
 Ripcord and identify the date and amount of each such contribution, donation or payment of
 money.

 RESPONSE:




 Identify any and all publications You made, including any “ReTruths,” concerning or relating to
 Konnech, Eugene Yu, Konnech Data, Hotel Room Data, Konnech Computers, this Lawsuit, the
 Tiger Project, and/or Ripcord. Include in Your answer a description, in detail, of the following:

        (a)    Where the publication was made;

        (b)    The date of the publication;

        (c)    The original author of the publication; and

        (d)    Media format of the publication.

 RESPONSE:




 Identify any statements by You, including, but not limited to statements made at a press
 conference, interview, press release, speech, podcast, or public appearance, concerning Konnech,
 Eugene Yu, Konnech Data, Hotel Room Data, Konnech Computers, this Lawsuit, the Tiger
 Project, and/or Ripcord. Include in Your answer a description, in detail, of the following:

        (a)    Date of the statement;

        (b)    Where the statement was made;

        (c)    A description of each such statement; and

        (d)    Whether there are any presentation materials, notes, outlines, scripts, video
               recordings, and/or audio recordings concerning such statement.


                                                15
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 93 of 115 PageID #: 126




 RESPONSE:




 Identify and describe the “Tiger Project,” including but not limited to the following:

        (a)     The meaning of the phrase “Tiger Project”;

        (b)     The meaning of the phrase “Tiger Droppings”;

        (c)     A description of all “Tiger Droppings” that resulted from the “Tiger Project”;

        (d)     The date on which the “Tiger Project” commenced;

        (e)     The subject and/or targets of the “Tiger Project”;

        (f)     The identity of all people and organizations involved in the “Tiger Project”;

        (g)     The identity of all people and organizations who provided You with “Tiger
                Droppings” or any information regarding Konnech following the Pit; and

        (h)     The purpose of the “Tiger Project.”

 RESPONSE:




 Identify all fund-raising events that You have been involved with since August 2022, including
 The Pit, which concerned or related to Konnech and/or Eugene Yu.

 RESPONSE:




 Identify the total amount of money paid by You to Phillips, OPSEC Group, LLC, CoverMe, Taylor
 Phillips, Mike Hasson, @The_Authority, @KanekoaTheGreat, Dinesh D’Souza and/or any other
 person or entity with which You are affiliated since January 1, 2020.

 RESPONSE:




                                                 16
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 94 of 115 PageID #: 127




 Identify every fact supporting in whole or in part each of the affirmative defenses identified in
 Your Answer.

 RESPONSE:




 Identify and describe all lawsuits in which You are currently or have been a party within the past
 ten (10) years.

 RESPONSE:




 Identify each person (by name, address and telephone number) whom You expect to call to testify
 at trial pursuant to Rule 26 of the Federal Rules of Civil Procedure.

 RESPONSE:




 Identify each person(s) answering, supplying information, or in any way assisting with the
 preparation of the answers to these interrogatories.

 RESPONSE:




              PLAINTIFF’S FIRST SET OF REQUESTS FOR PRODUCTION

 REQUEST FOR PRODUCTION 1:

 All video, audio and/or transcripts, and photographs of The Pit.

 RESPONSE:




                                                 17
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 95 of 115 PageID #: 128




 REQUEST FOR PRODUCTION 2:

 All video, audio and/or transcripts of The Pit by RSBN, including the “Exclusive” video coverage.

 RESPONSE:


 REQUEST FOR PRODUCTION 3:

 Any and all Communications with the RSBN regarding The Pit, Konnech, Eugene Yu, Konnech
 Computer, Konnech Data, Hotel Room Data, and/or this Lawsuit.

 RESPONSE:


 REQUEST FOR PRODUCTION 4:

 All Documents and Communications with RSBN regarding the planned release of RSBN’s
 “Exclusive” video coverage of The Pit.

 RESPONSE:


 REQUEST FOR PRODUCTION 5:

 Any and all agreements, contracts, memorandums of understanding or otherwise between any of
 the Defendants and RSBN concerning The Pit.

 RESPONSE:


 REQUEST FOR PRODUCTION 6:

 Any and all non-disclosure agreements with any media organization concerning Konnech, Eugene
 Yu, Konnech Data, Hotel Room Data, Konnech Computers, this Lawsuit, the Tiger Project, and/or
 Ripcord.

 RESPONSE:


 REQUEST FOR PRODUCTION 7:

 Any and all Communications with RSBN regarding any request by any of the Defendants that
 RSBN not record, stream, or air any portion of The Pit.

 RESPONSE:



                                                18
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 96 of 115 PageID #: 129




 REQUEST FOR PRODUCTION 8:

 Any and all Communications with RSBN regarding any request by any of the Defendants that
 RSBN delete or destroy and portion of any recording of The Pit.

 RESPONSE:


 REQUEST FOR PRODUCTION 9:

 Any and all Documents and Communications concerning the sale or attempted sale of media rights,
 production rights, filmmaking rights, story rights, and/or any other agreement to create, produce,
 film, publish, direct, or otherwise participate in any film, movie, documentary, book, or narrative
 concerning The Pit, Konnech, Eugene Yu, Konnech’s Computers, Konnech’s Data, the Tiger
 Project, and/or Ripcord.

 RESPONSE:


 REQUEST FOR PRODUCTION 10:

 Any and all Communications with Dinesh D’Souza concerning the sale or attempted sale of media
 rights, production rights, filmmaking rights, story rights, and/or any other agreement to create,
 produce, film, publish, direct, or otherwise participate in any film, movie, documentary, book, or
 narrative concerning Konnech, Eugene Yu, Konnech’s Computers, Konnech’s Data, the Tiger
 Project, and/or Ripcord.

 RESPONSE:


 REQUEST FOR PRODUCTION 11:

 Any and all lists of invitees, registrants, attendees, speakers, vendors, and/or advertisers in
 connection with The Pit, including drafts of same.

 RESPONSE:



 REQUEST FOR PRODUCTION 12:

 Any and all Documents and communications regarding any investigation You performed and/or
 on which You relied on concerning the following statements previously made by any of the
 Defendants:

        (a)     That Konnech is a “Red Chinese communist op”;

        (b)     That Konnech and its employees are “Chinese operatives”;


                                                 19
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 97 of 115 PageID #: 130




        (c)    That Konnech’s software “apps were running form China, the database is running
               in China. It’s on the Chinese internet, meaning the Chinese own it,” as stated during
               the August 30 2022 podcast titled “Here’s How They’ll Try to Steal the Midterms”;

        (d)    That Konnech is affiliated with the Chinese Communist Party;

        (e)    That Konnech is affiliated with the Confucius Institute;

        (f)    That Konnech is involved in election fraud;

        (g)    That Konnech engaged in bribery in connection with a purported Detroit contract;

        (h)    That Konnech stores poll worker data on servers in China;

        (i)    That You accessed and/or have seen Konnech data related to Allegheny, PA; and

        (j)    That Konnech stores any ballot data on servers in China.

 RESPONSE:



 REQUEST FOR PRODUCTION 13:

 Any and all Documents concerning the factual basis, if any, supporting the following statements
 previously made by any of the Defendants:

        (a)    That Konnech is a “Red Chinese communist op”;

        (b)    That Konnech and its employees are “Chinese operatives”;

        (c)    That Konnech’s software “apps were running form China, the database is running
               in China. It’s on the Chinese internet, meaning the Chinese own it,” as stated during
               the August 30 2022 podcast titled “Here’s How They’ll Try to Steal the Midterms”;

        (d)    That Konnech is affiliated with the Chinese Communist Party;

        (e)    That Konnech is affiliated with the Confucius Institute;

        (f)    That Konnech is involved in election fraud; and

        (g)    That Konnech engaged in bribery in connection with a purported Detroit contract;

        (h)    That Konnech stores poll worker data on servers in China;

        (i)    That You accessed and/or have seen Konnech data related to Allegheny, PA; and

        (j)    That Konnech stores any ballot data on servers in China.



                                                20
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 98 of 115 PageID #: 131




 RESPONSE:



 REQUEST FOR PRODUCTION 14:

 Any and all Documents and Communications to support the position in Phillips’ affidavit attached
 in support of Defendants’ Submission of Evidence in Furtherance of Request to Purge Finding of
 Contempt, that “the computer in question may not have been actually ‘owned’ by Konnech Inc.,
 as that term is commonly understood.” (Doc. 46, 46-1).

 RESPONSE:



 REQUEST FOR PRODUCTION 15:

 Any and all Documents and Communications reflecting compliance with Phillips’ sworn statement
 that he would “work confidentiality, with all diligence, expedience and in good faith with Plaintiff
 and counsel for Plaintiff to answer the questions set out” in connection with the TRO and
 Preliminary Injunction.

 RESPONSE:


 REQUEST FOR PRODUCTION 16:

 The complete communication thread (including native files of all media shared in the thread)
 between Phillips and/or Engelbrecht, the purported FBI agents and any other person, which
 Defendants filed in this Lawsuit as Exhibit B to Defendants’ Submission of Evidence in
 Furtherance of Request to Purge Finding of Contempt (Docs. 46, 46-1).

 RESPONSE:



 REQUEST FOR PRODUCTION 17:

 Any and all Konnech property, Konnech Data and/or Hotel Room Data in Your possession,
 custody or control.

 RESPONSE:



 REQUEST FOR PRODUCTION 18:

 Any and all video and/or pictures of Konnech’s offices, Eugene Yu’s home, Eugene Yu and any


                                                 21
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 99 of 115 PageID #: 132




 current or former employee of Konnech.

 RESPONSE:



 REQUEST FOR PRODUCTION 19:

 Any and all Documents and Communications with any private investigator and/or other person
 retained to investigate and/or conduct surveillance of Konnech, Eugene Yu, and/or any current or
 former employee of Konnech.

 RESPONSE:



 REQUEST FOR PRODUCTION 20:

 Any and all Konnech Data and/or Hotel Room Data in Your possession, custody or control.

 RESPONSE:



 REQUEST FOR PRODUCTION 21:

 Any and all Documents demonstrating that You know anyone who accessed Konnech Data and/or
 Hotel Room Data without express authorization by Konnech.

 RESPONSE:



 REQUEST FOR PRODUCTION 22:

 All audit logs which reflect any access to any Konnech Computer or server in China which housed
 any Konnech Data or Hotel Room Data.

 RESPONSE:



 REQUEST FOR PRODUCTION 23:

 All connection logs which reflect any access to any Konnech Computer or server in China which
 housed any Konnech Data or Hotel Room Data.

 RESPONSE:


                                               22
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 100 of 115 PageID #: 133




 REQUEST FOR PRODUCTION 24:

 All Documents reflecting that any Konnech Data or Hotel Room Data was stored, housed, located
 on or otherwise available on a Mongo DB database or Mongo DB server.

 RESPONSE:



 REQUEST FOR PRODUCTION 25:

 All Documents reflecting that any Konnech Data or Hotel Room Data was stored, housed, located
 on or otherwise available on the China Unicom backbone.

 RESPONSE:



 REQUEST FOR PRODUCTION 26:

 All Documents and Communications reflecting how and when any Konnech Computer, Konnech
 Data or Hotel Room Data was accessed, including but not limited to documents reflecting the
 specific IP address(es) allegedly accessed, the contents of the data accessed, and the total amount
 of data accessed.

 RESPONSE:


 REQUEST FOR PRODUCTION 27:

 All Documents and Communications reflecting how and when the “computer”—described by
 Defendants in their Motion to Dissolve Preliminary Injunction as a “computer” “not in the U.S.”
 (Doc. 64, last paragraph on p. 2)—was accessed, including but not limited to documents reflecting
 the specific IP address(es) allegedly accessed, the contents of the data accessed, and the total
 amount of data accessed.

 RESPONSE:


 REQUEST FOR PRODUCTION 28:

 All Documents and Communications reflecting any default and/or backend user name and/or
 password for accessing any Konnech Computer and/or Konnech Data.

 RESPONSE:




                                                 23
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 101 of 115 PageID #: 134




 REQUEST FOR PRODUCTION 29:

 All Documents and Communications reflecting all users of any Konnech Computer.

 RESPONSE:


 REQUEST FOR PRODUCTION 30:

 All Documents and Communications reflecting any and all Konnech employee or staff credentials
 used to access any Konnech Computer and/or Konnech Data.

 RESPONSE:


 REQUEST FOR PRODUCTION 31:

 Any and all Communications between You, Konnech, Eugene Yu, or any current or former
 employee of Konnech.

 RESPONSE:



 REQUEST FOR PRODUCTION 32:

 Any and all Communications between Defendants concerning or relating to Konnech, Eugene Yu,
 Konnech Computer, Konnech Data and/or Hotel Room Data.

 RESPONSE:



 REQUEST FOR PRODUCTION 33:

 All Documents and Communications concerning Konnech, Eugene Yu, Konnech Computers
 Konnech Data, and/or Hotel Room Data, which the Pit “Anons” and/or “Pitsters” have “unearthed”
 from the “data they received at The Pit.”

 RESPONSE:



 REQUEST FOR PRODUCTION 34:

 Any and all Communications between You and any of the following concerning or relating to
 Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel Room Data, and/or this Lawsuit:



                                              24
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 102 of 115 PageID #: 135




       (a)   Mike Hasson;

       (b)   the third, unnamed person at the Hotel Meeting;

       (c)   any other person yet to be named who was present at the Hotel Meeting

       (d)   Taylor Phillips;

       (e)   OPSEC Group, LLC;

       (f)   the FBI, or any other government agency, or any agent working for the FBI or any
             other government agency;

       (g)   any advertisers at the Pit;

       (h)   the person(s) affiliated with Truth Social username @The_Authority;

       (i)   the person(s) affiliated with Truth Social username @KanekoaTheGreat;

       (j)   the person(s) affiliated with Truth Social username @CognititveCarbon;

       (k)   the person(s) affiliated with the Truth Social username @BrianCates;

       (l)   the person(s) affiliated with the Truth Social username @blondepatriot1776;

       (m)   person(s) affiliated with the Truth Social username @GusQuixote;

       (n)   Jeffrey Pederson;

       (o)   Shannon Townsend;

       (p)   Trevor Fitzgibbon;

       (q)   Dinesh D’Souza

       (r)   Eric Neff;

       (s)   Andrew Stevens;

       (t)   Marc Beaart;

       (u)   Grant Bradley; and

       (v)   Any other person.

 RESPONSE:




                                            25
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 103 of 115 PageID #: 136




 REQUEST FOR PRODUCTION 35:

 Your cell phone records reflecting all communications with anyone present at the Hotel Meeting
 since January 2020.

 RESPONSE:



 REQUEST FOR PRODUCTION 36:

 Any and all Communications with anyone present at the Hotel Meeting since January 2020.

 RESPONSE:



 REQUEST FOR PRODUCTION 37:

 Any and all Communications between You and the FBI or any federal agency or any agent working
 for the FBI or federal agency concerning or relating to Your purported role as a confidential
 informant, including, but not limited to, any agreements between You, or any offer or actual
 payment of money.

 RESPONSE:



 REQUEST FOR PRODUCTION 38:

 Any confidential informant agreement or other agreement between You and any governmental
 entity and/or agency, including but not limited to the FBI or NSA, in effect at any time between
 January 1, 2020 and the present.

 RESPONSE:



 REQUEST FOR PRODUCTION 39:

 All FD-302 Forms concerning an FBI report or summary of an interview You provided to the FBI
 concerning or relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel Room
 Data, and/or this Lawsuit.

 RESPONSE:




                                               26
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 104 of 115 PageID #: 137




 REQUEST FOR PRODUCTION 40:

 Any sworn statements that You provided to the FBI or any other governmental entity or agency
 concerning or relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel Room
 Data, and/or this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 41:

 Any and all Communications with the Arizona Attorney General concerning or relating to You
 claiming to be an FBI confidential informant in the last five (5) years.

 RESPONSE:



 REQUEST FOR PRODUCTION 42:

 Any and all Communications between You and any person affiliated with any law enforcement
 agency concerning or relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel
 Room Data, and/or this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 43:

 Any and all Communications between You and any government agency, municipality and/or
 county concerning or relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel
 Room Data, and/or this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 44:

 Any and all Communications between You and anyone who was invited to and/or attended the
 The Pit concerning or relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel
 Room Data, and/or this Lawsuit.

 RESPONSE:




                                             27
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 105 of 115 PageID #: 138




 REQUEST FOR PRODUCTION 45:

 Any and all photographs or video recordings taken by any of the Defendants or anyone else at the
 Hotel Meeting.

 RESPONSE:



 REQUEST FOR PRODUCTION 46:

 Any receipts and/or requests for reimbursement of expenses concerning the Hotel Meeting, hotel
 accommodations related thereto, and for transportation.

 RESPONSE:



 REQUEST FOR PRODUCTION 47:

 All Documents and Communications reflecting any investigation of You by the FBI.

 RESPONSE:



 REQUEST FOR PRODUCTION 48:

 Any and all advertisements for The Pit.

 RESPONSE:



 REQUEST FOR PRODUCTION 49:

 Any and all advertisements for the Fake Pit.

 RESPONSE:



 REQUEST FOR PRODUCTION 50:

 Any and all advertisements for products or services offered for sale at or in connection with The
 Pit.

 RESPONSE:



                                                28
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 106 of 115 PageID #: 139




 REQUEST FOR PRODUCTION 51:

 Any and all demonstratives, speeches, presentations, including PowerPoint presentations and
 outlines of presentations, including drafts of same, concerning The Pit.

 RESPONSE:



 REQUEST FOR PRODUCTION 52:

 Any and all Documents and Communications concerning or relating to The Pit.

 RESPONSE:



 REQUEST FOR PRODUCTION 53:

 Any notes, journal entries, diaries, calendars, or Documents otherwise prepared in preparation for,
 during, or after The Pit concerning The Pit.

 RESPONSE:



 REQUEST FOR PRODUCTION 54:

 Documents sufficient to show all payments received by You in connection with The Pit.

 RESPONSE:



 REQUEST FOR PRODUCTION 55:

 All Documents and Communications, including but not limited to video or audio recordings, and
 summaries and/or excerpts of same, concerning statements made by You at The Pit.

 RESPONSE:



 REQUEST FOR PRODUCTION 56:

 All Documents and Communications concerning statements, including summaries and/or excerpts
 of same, made at The Pit concerning or relating to Konnech, Eugene Yu, Konnech Computer,
 Konnech Data, and/or Hotel Room Data.



                                                 29
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 107 of 115 PageID #: 140




 RESPONSE:



 REQUEST FOR PRODUCTION 57:

 All Documents and Communications concerning The Pit after the conclusion of The Pit.

 RESPONSE:



 REQUEST FOR PRODUCTION 58:

 Any user agreement and/or membership agreement under which You used BinaryEdge software
 from January 1, 2021 to the present date.

 RESPONSE:



 REQUEST FOR PRODUCTION 59:

 Your resume from January 2021 to the present date.

 RESPONSE:



 REQUEST FOR PRODUCTION 60:

 Any press releases by You concerning or relating to Konnech, Eugene Yu, Konnech Computer,
 Konnech Data, Hotel Room Data, and/or this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 61:

 Any Documents and Communications concerning statements by You made at a press conference,
 interview, rally, demonstration, fund raiser, speech, podcast or public appearance or provided to
 the media concerning or relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data,
 Hotel Room Data, and/or this Lawsuit.

 RESPONSE:




                                                30
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 108 of 115 PageID #: 141




 REQUEST FOR PRODUCTION 62:

 Any video, audio and/or transcripts of any interviews, press conferences, rallies, demonstrations,
 speeches, fund raisers, podcasts, or public appearances at which any statements concerning or
 relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel Room Data, and/or
 this Lawsuit were made and during which You appeared.

 RESPONSE:



 REQUEST FOR PRODUCTION 63:

 Any video, audio and/or transcripts of any of the Defendants’ appearance on the following shows
 and/or podcasts:

        (a)     the December 15, 2022 Rick & Bubba show;

        (b)     the August 15, 2022 podcast titled “Devolution Power Hour – Gregg Phillips
                Interview”;

        (c)     the August 23, 2022 “Prophets and Patriots” podcast;

        (d)     the August 30, 2022 podcast titled “Here’s How They’ll Try to Steal the Midterms”;

        (e)     the September 2, 2022 “Patriot Games” podcast;

        (f)     the August 31, 2022 podcast titled “(Allegedly) Stealing the Chinese Internet w/
                Gregg Phillips of 2000 Mules”;

        (g)     the podcast Patriot Games, Episode 6 titled “Game Changer”;

        (h)     the August 31, 2022 podcast called “Alabama Unfiltered”; and

        (i)     the September 5, 2022 True the Vote podcast hosted on Locals.

 RESPONSE:



 REQUEST FOR PRODUCTION 64:

 Any video, audio and/or transcripts of Catherine Engelbrecht’s appearance on the August 19, 2022
 podcast hosted by Mary Grace.

 RESPONSE:




                                                31
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 109 of 115 PageID #: 142




 REQUEST FOR PRODUCTION 65:

 Any notes, outlines, talking points or demonstrative aids for any interviews, press conferences,
 rallies, demonstrations, speeches, fund raisers, podcasts, or public appearances attended by You
 that concern or relate to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel Room
 Data, and/or this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 66:

 Any and all Documents regarding any investigation You performed concerning the statements
 posted on Your Social Media concerning or related to Konnech, Eugene Yu, Konnech Computer,
 Konnech Data, Hotel Room Data, and/or this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 67:

 Any and all Documents and Communications concerning or relating to the “Ripcord,” as that term
 was used by any of the Defendants during testimony in this Lawsuit on October 27, 2022.

 RESPONSE:



 REQUEST FOR PRODUCTION 68:

 Any and all Documents and Communications concerning or relating to the “Tiger Project.”

 RESPONSE:



 REQUEST FOR PRODUCTION 69:

 Any and all Documents concerning or relating to Konnech, Eugene Yu, Konnech Computer,
 Konnech Data, Hotel Room Data, and/or this Lawsuit which have been disseminated by or through
 the Open.Ink website or uploaded or will be uploaded to the Open.Ink website.

 RESPONSE:




                                               32
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 110 of 115 PageID #: 143




 REQUEST FOR PRODUCTION 70:

 Any and all Documents that identify any and all financial donors, supporters or contributors to
 You or any person or entity with which You are affiliated, including information regarding the
 name of each donor, supporter, or contributor, the employer of each donor, supporter, or
 contributor, the amount of the donation or contribution, and the date of the donation or
 contribution, for the past five (5) years.

 RESPONSE:



 REQUEST FOR PRODUCTION 71:

 Any and all statements, comments, or other communications by any financial donor, supporter or
 contributor to You or any person or entity with which You are affiliated, which refers or relates to
 Konnech, Eugene Yu, or this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 72:

 Any and all Documents and Communications regarding any request or plea for donations or
 contributions to any of the Defendants since January 2020, including but not limited to any Social
 Media post, GoFundMe page, or video or podcast recording.

 RESPONSE:



 REQUEST FOR PRODUCTION 73:

 Any and all Documents reflecting all advertisements of any products and/or merchandise offered
 for sale at or in connection with Your detention for contempt in this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 74:

 Any and all Documents regarding donations You or any person or entity with which you are
 affiliated received in connection with Your detention for contempt in this Lawsuit.

 RESPONSE:



                                                 33
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 111 of 115 PageID #: 144




 REQUEST FOR PRODUCTION 75:

 Any and all Documents regarding any statements or videos posted on Your Social Media accounts
 concerning or relating to Konnech, Eugene Yu, Konnech Computer, Konnech Data, Hotel Room
 Data, and/or this Lawsuit, including, but not limited to, drafts of the statements or videos, any
 comments on the statements or videos, any response to the comments on the statements or videos,
 and any republications of the statements or videos by the media.

 RESPONSE:



 REQUEST FOR PRODUCTION 76:

 Any and all Documents sufficient to show each Defendants’ net worth from January 1, 2018 to the
 present date.

 RESPONSE:



 REQUEST FOR PRODUCTION 77:

 Any and all Documents sufficient to show each Defendants’ audited or unaudited financial balance
 sheets from January 1, 2018 to the present date.

 RESPONSE:



 REQUEST FOR PRODUCTION 78:

 Any and all Documents sufficient to show each Defendants’ audited or unaudited income
 statements from January 1, 2018 to the present date.

 RESPONSE:



 REQUEST FOR PRODUCTION 79:

 Any and all Documents sufficient to show each Defendants’ state and federal tax returns and
 schedules thereto from January 1, 2018 to the present date.

 RESPONSE:




                                                34
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 112 of 115 PageID #: 145




 REQUEST FOR PRODUCTION 80:

 All of Your IRS Form 1099’s, K-1’s and W-2s from January 1, 2018 to the present date.

 RESPONSE:



 REQUEST FOR PRODUCTION 81:

 All Documents reflecting all money paid to Phillips by You from January 1, 2018 to the present
 date.

 RESPONSE:



 REQUEST FOR PRODUCTION 82:

 All Documents reflecting all money paid to Engelbrecht by You from January 1, 2018 to the
 present date.

 RESPONSE:



 REQUEST FOR PRODUCTION 83:

 All Documents reflecting all money paid to OPSEC Group, LLC by You from January 1, 2018 to
 the present date.

 RESPONSE:



 REQUEST FOR PRODUCTION 84:

 All Documents reflecting all money paid to You in connection with 2000 Mules.

 RESPONSE:



 REQUEST FOR PRODUCTION 85:

 Any and all Documents regarding payments, contributions, and/or donations You or any person or
 entity with which you are affiliated received in connection with, concerning or relating to Konnech,
 Eugene Yu, Konnech Computers, Konnech Data, Hotel Room Data, and/or this Lawsuit.



                                                 35
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 113 of 115 PageID #: 146




 RESPONSE:



 REQUEST FOR PRODUCTION 86:

 All Documents reflecting all money paid by You and/or any of the Defendants to the person(s)
 affiliated with the following Truth Social usernames from January 1, 2018 to the present date:

        (a)    @TheAuthority;

        (b)    @KanekoaTheGreat;

        (c)    @BrianCates;

        (d)    @GusQuixote; and

        (e)    @blondepatriot1776.

 RESPONSE:



 REQUEST FOR PRODUCTION 87:

 Any and all statements, whether tape recorded, video recorded, written, or otherwise transcribed
 or preserved, made at any time by You concerning or relating to Konnech, Eugene Yu, Konnech
 Computer, Konnech Data, Hotel Room Data, and/or this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 88:

 Any and all Documents containing facts supporting in whole or in part each of the affirmative
 defenses asserted in Defendants’ First Amended Answer.

 RESPONSE:



 REQUEST FOR PRODUCTION 89:

 Any sworn testimony by You, whether in deposition, in Court, or anywhere else within the last
 five (5) years.

 RESPONSE:



                                               36
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 114 of 115 PageID #: 147




 REQUEST FOR PRODUCTION 90:

 All public records requests each of the Defendants submitted to any state, county or municipality
 seeking documents concerning or relating to Konnech, and the records produced in response to
 same.

 RESPONSE:



 REQUEST FOR PRODUCTION 91:

 All Documents and Communications concerning or relating to any whistleblower claims You
 made or attempted to make concerning or relating to Konnech, Eugene Yu, Konnech Computer,
 Konnech Data, Hotel Room Data, and/or this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 92:

 All Documents and Communications concerning or relating to any criminal complaint, police
 report, or other claim You made to any law enforcement agency concerning or relating to Konnech,
 Eugene Yu, Konnech Computer, Konnech Data, Hotel Room Data, and/or this Lawsuit.

 RESPONSE:



 REQUEST FOR PRODUCTION 93:

 All video and/or audio recordings taken in Judge Kenneth Hoyt’s courtroom on October 27, 2022
 and/or October 31, 2022.

 RESPONSE:



 REQUEST FOR PRODUCTION 94:

 All Documents and Communications concerning the press conference which Philips claims to have
 planned to attend on October 31, 2022, but did not allegedly due to his detention for contempt in
 this Lawsuit.

 RESPONSE:




                                                37
Case: 4:23-mc-00286-HEA Doc. #: 1-2 Filed: 03/17/23 Page: 115 of 115 PageID #: 148




 REQUEST FOR PRODUCTION 95:

 All Documents and Communications reflecting all URLs and/or domain names claimed by,
 owned, and/or controlled by You.

 RESPONSE:



 REQUEST FOR PRODUCTION 96:

 Any video, audio or transcripts of any interviews of Trevor Fitzgibbon related to Konnech, Eugene
 Yu, and/or this Lawsuit, including but not limited to the interview conducted by Ivory Hecker.

 RESPONSE:




                                                38
